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                                     IN THE UNITED STATES DISTRICT COURT
                                      FOR THE WESTERN DISTRICT OF TEXAS
                                               AUSTIN DIVISION

              STUDENTS FOR JUSTICE IN                      §
              PALESTINE, AT THE UNIVERSITY                 §
              OF HOUSTON; et al.,                          §
                                                           §
                       Plaintiffs,                         §
                                                           §
              v.                                           §
                                                                       No. 1:24-CV-523-RP
                                                           §
              GREG ABBOTT, IN HIS OFFICIAL                 §
              CAPACITY ONLY AS THE                         §
              GOVERNOR OF THE STATE OF                     §
              TEXAS, et al.,                               §
                                                           §
                       Defendants.                         §

                                        DECLARATION OF KATIE MCGEE

                      1.       I, Katie McGee, am over eighteen years of age. I am fully capable of

             making this declaration. The following is within my personal knowledge and is true

             and correct:

                      2.       I am the Interim Dean of Students and Associate Vice President for The

             University of Texas at Austin (UT Austin), a position I have held since February 2024.

             I was previously the Executive Director for Student Conduct and Academic Integrity

             in the Office of the Dean of Students from January 2021 to February 2024. Before

             joining UT Austin, I worked at The University of Louisiana System, Louisiana State

             University, Florida State University, and Florida International University.

                      3.       I have advanced training in safety planning, threat assessment,

             behavioral intervention and risk mitigation in the university setting. This includes

             certifications in Advanced Risk Assessment, SIVRA certification (violence-risk


             Declaration of Katie McGee                                                            1
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             assessment), and Threat Management from the National Behavioral Intervention

             Team Association (NaBITA). I also hold certification for Prevention of, Response to,

             and Recovery from Campus Emergencies by the National Center for Biomedical

             Research and Training Academy of Counter-Terrorist (NCBRT).

                      4.       I’ve reviewed the complaint and Ms. Jenna Homsi’s affidavit. 1 These

             documents omit critical information and contain inaccurate and misleading

             statements regarding the Palestine Solidarity Committee (PSC)’s Popular University

             event on April 24, 2024.

                      5.       Before I explain what the PSC gets wrong, I want to make sure I am

             clear on several points:

                  x   The Palestine Solidarity Committee’s political views or past expressive activity
                      did not influence the decision to inform them that the Popular University event
                      could not occur on April 24, 2024. This decision was based on evidence that the
                      event would violate our rules and likely cause significant disruption on campus
                      during critical time period leading up to student final examinations.

                  x   On April 23 and 24, my office told PSC’s leadership multiple times that the
                      event could not occur as planned. We also ordered PSC’s leaders to
                      immediately remove the tents, camping materials, and a large amplifier with
                      speakers that staff had seen. Except for briefly trying to address the amplifier,
                      PSC’s leaders refused to follow directives and marched the group onto
                      Speedway, loudly yelling and chanting. All of this occurred before the matter
                      was turned over to law enforcement.

                  x   PSC and its members displayed the most disruptive and belligerent behavior
                      I have seen in my over twenty years of experience in higher education
                      administration. They repeatedly refused to comply with orders to disperse and
                      continued to occupy large areas of campus. After hours of disrupting campus
                      life on Speedway, they went to the South Lawn, erected an encampment, and
                      refused to leave.


             1 Based on PSC’s registration with our office, it was believed Ms. Homsi was enrolled when my team

             spoke to her, it was later determined she was not a student in April 2024. She is also not currently
             enrolled at UT Austin.

             Declaration of Katie McGee                                                                             2
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                  x   PSC was issued an interim action (meaning they could not reserve indoor
                      space) pending an investigation because PSC’s leaders and members violated
                      numerous rules when they ignored directives and caused disruption on
                      campus. The content of PSC’s speech or point of view played no role in this
                      decision. Notably, they never appealed this interim action as allowed under
                      the policy.

                  x   The Governor’s executive order, which was not incorporated in our rules then,
                      did not impact how my office responded to PSC’s misconduct. Our motivation
                      was to prevent serious disruption and hold the group and its members
                      accountable for these egregious rule violations.

                The Dean of Students Office Supports Students’ Ability to Demonstrate

                      6.       The Office of the Dean of Students is committed to supporting and

             streamlining students’ ability to demonstrate and exercise their free speech rights. Our

             services include helping students and student groups plan demonstrations in a safe and

             effective manner by working with the students to coordinate logistics and ensure compliance

             with university policies and the Institutional Rules. My office also hosts a website

             dedicated to expression and assembly. 2

                      7.       Chapter 13 of the Institutional Rules sets out the University’s time,

             place, and manner regulations. The rules are content-neutral and existed before the

             events at issue in this lawsuit. These rules include time, place, and manner

             regulations on expressive activities, such as prohibiting individuals from impeding

             the flow of pedestrian and vehicular traffic on campus, creating disruptions in

             buildings or at university events, using unauthorized amplified sound, wearing face

             coverings to conceal the wearer’s identity, and engaging in physical violence or




             2 https://deanofstudents.utexas.edu/sa/demonstrationsbystudents.php.




             Declaration of Katie McGee                                                               3
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             inciting others to take violent action. A true and correct copy of Chapter 13 of the

             Institutional Rules from April 2024 is appended hereto as Exhibit A.

                      8.       The rules also state in Section 13-1202 (e), “University personnel may

             prevent imminently threatened violations, or end ongoing violations, of a prohibition

             in this Chapter, by explanation and persuasion, by reasonable physical intervention,

             by arrest of violators, or by any other lawful measures.”

                      9.       The rules continue, “University persons and University organizations

             on the campus will comply with instructions from University administrators and law

             enforcement officials at the scene. A University person or University organization

             that complies with an on-the-scene order limiting speech, expression, or assembly

             may test the propriety of that order in an appeal under Section 13–1203.”

                                   Dean of Students Office’s History with PSC

                      10.      The Dean of Students office is very familiar with PSC and its views

             because they have been active on campus, hosting multiple events yearly. Since

             October 7, 2023, our office has approved several indoor events for PSC, including a

             Resistance Art Gallery on April 1, a film screening on April 4, a Café Resistance on

             April 12, a Palestine Culture Night on April 19, and guest speakers on April 23, 2024.

                      11.      In addition, my office has confirmed many outdoor space requests for

             PSC. These outdoor events or displays occurred in 2023 on October 17, 18, 19, 24, 26,

             December 6, and in 2024 on March 29, 30, 31, April 1, 2, 3, 13, 14, 15, 16, 17, 18, and

             19.




             Declaration of Katie McGee                                                            4
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                      12.      Dean of Students staff also met multiple times this year with Ms. Homsi

             and other PSC leadership to discuss how the organization could demonstrate in

             compliance with Institutional Rules. This outreach included:

                  x   A meeting on February 21 between Ms. Homsi and Sade Dawson-Love, the
                      Associate Director of Student Activities, to discuss upcoming events and
                      university rules and policies.

                  x   Email communications on March 12 and 13 to discuss outdoor space
                      availability.

                  x   A phone call on March 26 between Ms. Homsi and Ms. Dawson-Love to discuss
                      the outdoor space reservations and request, and university policies on
                      demonstrations.

                  x   An April 5 meeting with Dean of Students staff and PSC leadership that PSC
                      did not show up for.

                      13.      My office has not interfered with the PSC’s ability to counterprotest

             other groups’ events, so long as those counterprotests comply with Institutional

             Rules. One clear example is how my office worked with the PSC concerning their

             protest of an Israel Block Party (the Israel Block Party was not a protest) hosted by

             Texas Hillel on April 2, 2024. PSC members initially marched at the event in what

             appeared to be an effort to disrupt it intentionally. Dean of Students staff informed

             them that this was unacceptable conduct and helped them find a way to hold their

             protest in a way that respected the rights of others, including those needing to move

             freely through the area on foot.

                      14.      My office did not charge PSC with violating the rules because of their

             initial behavior on April 2. Attempting to lay out a constructive path forward, my

             office sent a letter to Ms. Homsi, the purported PSC representative, admonishing

             that “[t]his message should serve as a notice of the potential risk of failing to comply

             Declaration of Katie McGee                                                                 5
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             with directives of university officials, and disrupting authorized activities.” In the

             letter, my office offered the help of the Office of the Dean of Students in planning

             future events or demonstrations and providing support to ensure PSC’s future

             events take place successfully and without disrupting authorized activities. A true

             and correct copy of this letter is appended hereto as Exhibit B.

                      15.      A day after the event, PSC’s leader Ammer Qaddumi stated in an

             interview that the University “understands that we want to demonstrate and, we’re

             thankful that rather than serve as a hindrance, they actually have served to

             streamline that process.” See Exhibit C.

                Since October 7, 2023, the Dean of Students Office Has Been Engaged in
                          Outreach to Our Muslim and Jewish Communities

                      16.      In the aftermath of the event of October 7, 2023, the Dean of Students

             Office conducted outreach to the University’s Muslim and Jewish student

             communities. Executive Director of Student Involvement Aaron Voyles and Executive

             Director of Student Support Kelly Soucy organized and attended meetings with the

             University’s Muslim Student Association, Texas Hillel, 2400 Nueces Mosque,

             University Interfaith Council, and student leaders from the Longhorns for Israel

             organization. The outreach was aimed to understand the impact to the groups,

             checking in with the groups’ members, and offering support resources.

                      17.      Staff in Sorority and Fraternity Life, a unit of the Dean of Students

             Office, likewise conducted outreach with the University’s historically-based Jewish

             and Muslim fraternities and sororities, including Alpha Epsilon Phi Sorority, Alpha

             Epsilon Pi Fraternity, Sigma Alpha Mu Fraternity, Zeta Beta Tau Fraternity and Mu

             Declaration of Katie McGee                                                               6
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             Delta Alpha Sorority. Similarly, the outreach was to ensure they, too, were supported

             and knew how to access campus resources should their membership need it. In

             subsequent text outreach, in person meetings, and chapter coaching, staff were in

             touch with all five of these groups throughout the year.

                      Some Incidents Involving PSC This Year Have Concerned My Office

                      18.      While things worked out on April 2, 2024, I am also aware of several

             occasions when members of the PSC or affiliated persons were involved in events that

             crossed the line into disruptive behavior.

                      19.      On December 6, 2023, PSC members and others protested a speaking

             event featuring journalist Bari Weiss. That disruption violated UT’s rules because it

             prevented others from hearing the speaker, who was expressing a viewpoint with

             which those protestors disagreed. I have appended a video of the indoor disruption at

             the event as Exhibit D and a news story quoting Ammer Qaddumi, PSC’s leader,

             about the disruption as Exhibit E.


                      20.      On December 8, 2023, protesters entered a locked building, burst into

             the private office of the dean for the School of Social Work, and while delivering a list

             of demands they temporarily prevented his ability to exit. The student conduct team

             conducted a disciplinary proceeding concerning four involved students, who were

             charged with disruptive conduct, unauthorized property entry, and failure to comply.

                      21.      Similarly, on January 26, 2024, there were disruptions at a talk by a

             prominent Israeli speaker Yaron Brook, hosted by the McCombs Salem Center.

             Protestors repeatedly stood up and shouted at the speaker, and one-by-one were


             Declaration of Katie McGee                                                             7
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             asked to leave or escorted out of the room. One protester was taken into custody by

             UTPD for refusing to leave and resisting arrest. 3

              The National Pattern of Encampments and Disruption Coordinated by the
               National SJP Informed My Office’s Expectations of Rules Violations and
              Disruption When PSC Declared Its Intention to Establish an Encampment.
                      22.      The Students for Justice in Palestine (SJP) is a national organization

             supporting over three hundred and fifty pro-Palestinian campus organizations. SJP

             manages campus-based activities, maintains communications networks, coordinates

             campaigns, leads training, and builds an organizing community. SJP provides

             “playbooks” or “toolkits” to guide their local groups. See Exhibit F.

                      23.      Since October 7, 2024, SJP and its local organizations have intentionally

             disrupted campus operations at numerous universities.

                      24.      The most prominent example is the SJP encampment at Columbia

             University, which began on April 17, 2024. A large group (students and non-students)

             took over the lawn in the heart of Columbia’s campus for several weeks. They

             harassed students and staff and ultimately broke into a building, Hamilton Hall,

             causing extensive damage. This conduct forced Columbia to cancel in-person classes

             and commencement and severely curtail movement on its campus. Photos of

             protesters at Columbia breaking into Hamilton Hall and barricading themselves

             inside, such as in the two photos shown below, were published in the media.




             3 A video of this arrest can be found at

             https://drive.google.com/file/d/1oX4bI2FzF6eGNdnNRq4Jja_nZr-s6ZVR/view. It should be noted that
             this individual was also arrested on April 29, 2024, during a disruptive on-campus protest.

             Declaration of Katie McGee                                                                    8
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                      25.      Administrators from Columbia University formed a working group with

             administrators from other universities that were encountering the same pattern of

             encampment attempts and disruption, which my office was invited to join after the

             events on our campus on April 24. This group of university staff met regularly via

             Zoom for weeks to share information on response strategies, to discuss staffing

             models, staff compensation, and prevention work moving forward.



             4 https://www.nbcnews.com/news/us-news/columbia-university-president-says-negotiations-

             protesters-stalled-sch-rcna149755
             5 https://www.telegraph.co.uk/us/news/2024/04/30/columbia-students-pro-palestinian-protesters-

             barricade/

             Declaration of Katie McGee                                                                       9
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                      26.      Other encampments emerged at Yale, the University of Michigan, New

             York University, the New School, Tufts University, MIT, Emerson College, the

             University of California, Berkeley, California State Polytechnic University, Humbolt,

             and others.        At campus after campus, demonstrations associated with these

             encampments disrupted university operations, destroyed property, violated

             university rules, and threatened public safety. 6

                      27.      Within The University of Texas System, on April 23, 2024, the

             President’s Office at The University of Texas at Dallas was stormed by the local

             chapter of the SJP, which occupied the building for seven hours.7 Over 100 protestors

             blocked stairs and hallways, drummed, yelled, and chanted while disrupting

             operations.




             6 See https://president.umich.edu/news-communications/messages-to-the-community/ending-the-

             encampment/ (University of Michigan statement detailing disruptions to university operations,
             vandalism, and an assault on law enforcement officers); https://www.nyu.edu/about/leadership-
             university-administration/office-of-the-president/comms/the-greene-st-walkway-encampment.html
             (NYU statement detailing “disruption, vandalism, and violence”); https://salovey.yale.edu/writings-
             and-speeches/statements/call-civility’ (Yale); https://today.emerson.edu/2024/04/24/important-
             encampment-update/ (Emerson); https://orgchart.mit.edu/letters/actions-encampment (MIT).
             7 https://www.instagram.com/p/C6Hf0BGpJbU/; https://www.instagram.com/p/C6H-vhkJ2VH/;

             https://www.instagram.com/p/C6H_9c3pSox/;
             https://twitter.com/MHurstMedia1/status/1782934006754931177?ref_src=twsrc%5Etfw%7Ctwcamp
             %5Etweetembed%7Ctwterm%5E1782934006754931177%7Ctwgr%5E388578422376a73391f7809c99
             44b6532e52dbb6%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fwww.statesman.com%2Fstory%2Fne
             ws%2Fstate%2F2024%2F04%2F25%2Fut-dallas-student-pro-palestine-protest-demand-action-
             campus-president%2F73454359007%2F; https://www.statesman.com/story/news/state/2024/04/25/ut-
             dallas-student-pro-palestine-protest-demand-action-campus-president/73454359007/;
             https://www.instagram.com/p/C6PKih7JRSR/ (posted April 26 but showing the scene from April 23);
             https://www.instagram.com/p/C6PMs8ZpWj2/ (same); https://utdmercury.com/pro-palestine-
             students-to-meet-with-president-benson-after-seven-hour-long-sit-in-for-divestment/.

             Declaration of Katie McGee                                                                       10
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                PSC’s Coordination with National SJP And Its Encampment Movement
                           Was Evident from Its Statements on Instagram.

                      28.      I have read the complaint, and its statements that the PSC’s affiliation

             with groups at other universities and at the national level was nothing more than

             “rumor” could not be farther from the truth. My office’s understanding that the PSC

             planned to create an encampment and disrupt the university was not based on rumor,

             but on the PSC’s own statements and its wholesale adoption of the national SJP’s

             terminology and tactics. The level of national coordination was like nothing I have

             seen before in my over twenty years working in higher education administration.

                      29.      The clearest way my office was able to see the national coordination

             occurring was through the PSC’s Instagram posts, which closely tracked and often

             quoted from, reposted from, or jointly posted with, the National SJP’s Instagram

             account. 8 That was particularly evident in the leadup to April 24.




             8 Based on their contents and associated accounts, I know these posts belong to the NSJP and PSC.

             These posts were still publicly available when I executed this declaration.

             Declaration of Katie McGee                                                                      11
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                      30.      On April 20, 2024, SJP announced the Popular University for Gaza

             campaign to seize control of campuses nationwide. It wrote on its website: “Students

             for Justice in Palestine (SJP) chapters across North America have risen in defense of

             the Palestinian people, establishing autonomous zones on several university

             campuses to assert their strength and demands in the face of severe university

             repression. Today, April 20th, 2024, National Students for Justice in Palestine

             announces the Popular University for Gaza, a coordinated pressure campaign against

             university administrations and trustees to immediately divest from the Israeli state.”

             It went on to state: “In the footsteps of our comrades at Rutgers-New Brunswick SJP,

             Tufts SJP, Columbia SJP, Yalies4Palestine, and many more, SJP chapters across the

             nation will seize the university and force the administration to divest for the people

             of Gaza!” See Exhibit G.

                      31.      SJP reiterated the call to action on Instagram, declaring: “WE ARE ALL

             SJP! Our universities have chosen profit and reputation over the lives of the people

             of Palestine and our will as students. The supposed power of our administrators is

             nothing compared to the strength of the united students, staff, and faculty committed

             to realizing justice and upholding Palestinian liberation on campus. In the footsteps

             of our comrades at Rutgers-New Brunswick SJP, Tufts SJP, and now Columbia SJP,

             we will seize our universities and force the administration to divest, for the people of

             Gaza! Join the Popular University, take back our institutions!”




             Declaration of Katie McGee                                                           12
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                      32.      On the same day, April 20, 2024, the PSC reposted National SJP’s

             announcement on its own Instagram account.




             Declaration of Katie McGee                                                        13
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                      33.      On April 21, 2024, National SJP Instagram declared: “Campuses in

             Revolt: Six Gaza Solidarity Encampments have erupted so far and more are on the

             way!” It stated that encampments at Rutgers, Columbia, Yale, The New School, and

             more represented a “long-term sustained occupation.” 9 PSC “liked” the post. 10




                      34.      On April 22, 2024, the National SJP posted: “Join the Popular

             University for Gaza! In this historic moment, as students occupy their campuses,

             setting up encampments for the first time since the 1960s, National Students for

             Justice in Palestine has launched the Popular University for Gaza National

             Campaign. By establishing spaces for popular education on campus, we will disrupt

             the university’s operations, usurp its existing structures, and undermine its elite


             9 https://www.instagram.com/p/C6CMk9oOPcF/.
             10 https://www.instagram.com/p/C6CMk9oOPcF/.


             Declaration of Katie McGee                                                        14
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             reputation to force university administrators to either cut ties with the Zionist entity

             or allow their universities to shatter.”11 SJP wrote that the “Popular University for

             Gaza is a coordinated mass movement of students, faculty, and staff dedicated to

             preventing our universities from performing their daily functions.”12




                      35.      National SJP went on: “We will seize control of our institutions, campus

             by campus, until Palestine is free.” 13




             11 https://www.instagram.com/p/C6E0DYXuWs8/.
             12 https://www.instagram.com/p/C6E0DYXuWs8/.
             13 https://www.instagram.com/p/C6EQ0r1ulpM/?img_index=6.


             Declaration of Katie McGee                                                             15
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                      36.      They continued: “We will disrupt university operations” and declared

             that they “will decide what we learn and how we gather.” 14




             14 https://www.instagram.com/p/C6E0DYXuWs8/?img_index=2.


             Declaration of Katie McGee                                                         16
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                      37.      It continued: “There will be no classes or compliance with our

             institutions so long as their shameless profiteering off of genocide persists.” 15




             15 https://www.instagram.com/p/C6EQ0r1ulpM/?img_index=3.


             Declaration of Katie McGee                                                           17
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                      38.      On April 23, 2024, PSC posted that they planned to implement the

             Popular University at UT Austin the next day. PSC announced under the banner of

             the Popular University that “[c]lass is [c]anceled” and that they would “reclaim [their]

             space on Wednesday, April 24.”16 Participants were to walk out of class, meet at

             Gregory Gym at 11:40, and march to the South Lawn to “occupy” it. Again, they would

             do so “[i]n the footsteps of [their] comrades at Columbia SJP, Rutgers-New

             Brunswick, Yale, and countless others across the nation.” Participants were to bring

             “blankets, food and water, face masks, and lots of energy.”




             16 https://www.instagram.com/p/C6G7WP9OkA0/?img_index=1.


             Declaration of Katie McGee                                                           18
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                      39.      That same day, April 23, a representative of the PSC emailed Sade

             Dawson-Love in my office and inquired about the availability of Greg Plaza on April

             24, 2024, stating that while they “don’t necessarily need to reserve the space,” they

             wanted to know if there were other major events otherwise using it.

                      40.      April 23, 2024, at 10:41 p.m., my office transmitted to PSC Authorized

             Representatives a “Notice Cancelling Planned Event.” We resent the letter the

             following morning to additional individuals associated with PSC’s leadership. See

             Exhibit H.

                      41.      The link between PSC and SJP continued to be manifest after April 24.

             Sometime after April 24, 2024, SJP began updating its website with a map showing its

             “Popular University for Gaza Solidarity Encampments” across the country. SJP lists an

             encampment at UT Austin among its alleged victories. And on April 29, 2024, when

             protesters again attempted to establish an encampment on the South Lawn, PSC made a

             joint Instagram post along with National SJP encouraging people in “our movement” to go to

             the lawn and “defend our space.”

             Declaration of Katie McGee                                                             19
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             Declaration of Katie McGee                                                        20
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             Declaration of Katie McGee                                                        21
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             Declaration of Katie McGee                                                        22
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                My Office Cancelled the April 24 PSC Event Because We Believed it was
                    Likely to Violate our Rules and Cause Substantial Disruption

                      42.      We concluded that the planned event was likely to violate our rules and

             to cause a material and substantial disruption to school activities during a critical

             time of the academic term, and that is why we cancelled the event.

                      43.      We did not consider there to be any ambiguity behind what PSC meant

             when it called for a Popular University on the UT Austin campus: PSC planned to

             create an encampment. The national movement to establish Popular Universities on

             campuses, of which PSC was a part, held as express goals of long-term sustained

             encampment and disruption of university operations. We took those statements at

             face value.

                      44.      Furthermore, because April 24 was the last day of classes, the

             anticipated encampment and disruption to university operations would have been

             timed to coincide with the period for students studying for final exams. Students

             typically have a large portion of the academic grade determined by work submitted

             at the end of the term. This includes final papers, projects, and examinations. The

             last regular days of the term are also a time that faculty generally provide review and

             guidance for final examinations. This is historically a high impact time for students

             and often a time when the Dean of Students team receives a high number of student

             concern reports due to stress and anxiety over grades.

                      45.      I have reviewed the complaint, and it states that the event was

             preemptively cancelled under the “pretext” of rules violations. My office did not cancel

             the event based on pretext or rumor. We canceled the event because PSC expressed

             Declaration of Katie McGee                                                            23
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             an intent to violate school rules at their demonstration. I have appended a copy of the

             cancelation letter hereto as Exhibit I.

                      46.      Our decision to cancel the event had everything to do with PSC’s

             planned actions—setting up an encampment and disrupting university operations in

             violation of Institutional Rules—and nothing to do with the content of PSC’s planned

             expression, which was the same as it had been at previous (and subsequent) events

             that my office approved.

                      47.      Our decision to cancel the event also had nothing to do with Executive

             Order GA-44. At the time of our decision to cancel the event, no changes had been

             made to our Institutional Rules in response to the Executive Order. Chapter 13 was

             updated to include the definition of antisemitism required by GA-44 on June 21, 2024.

                After the PSC Carried Out Its April 24 Event Anyway, My Office Placed
                                     PSC on Interim Suspension

                      48.      My office placed the PSC on interim suspension after the April 24

             protest. The investigation process is ongoing and there has not been a final resolution.

             The conduct team prioritized the investigative caseload for individual students to

             ensure resolution prior to the beginning of the fall academic term. The interim

             suspension is in place because of alleged violations of university policies, which are

             being investigated, and has nothing to do with the viewpoint of PSC.

                      49.      As defined by the University’s Institutional Rules on Student

             Organizations, Section 6-402, “‘Interim Action’ means an action taken by the Dean of

             Students against a Student Organization while the Dean of Students is assessing an

             alleged violation of university policy by the Student Organization. Actions include

             Declaration of Katie McGee                                                           24
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             but are not limited to suspension, suspension of rights or privilege or a probation from

             activities or operations.”

                      50.      In this case, on April 25, 2024, I sent a letter to the Authorized

             Representatives of the PSC. The letter informed those representatives that the Office

             of the Dean of Students is engaged in a formal investigation into information we

             received indicating that the PSC “may have violated the University’s Institutional

             Rules.” Thus, effective immediately, the PSC was instructed to “cease all activity until

             representatives of the Office of Student Conduct and Academic Integrity fully

             investigate the pending allegations.” The letter reinforced that the University “does

             not tolerate misconduct by any group or individual affiliated with the University.”

             The Dean of Students is preliminarily investigating these reports pursuant to Section

             6-501, and at the conclusion of that investigation will either dismiss the allegation or

             pursue an appropriate resolution option as outlined in Section 6-503.

                      51.      A Student Organization violates a University regulation when, among

             other circumstances, an Officer acting in the scope of their organizational capacities

             commits a violation, a member of the Student Organization commits a violation while

             acting with apparent authority of the Student Organization, a member or officer

             permits, encourages, aids, or assists any of its members in committing a violation, or

             members or officers fail to prevent an action when they “knew or should have known

             that an action constituting a violation was occurring or about to occur.” Section 6-501.

                      52.      Section 6-404 lists prohibited conduct of student organizations. It

             authorizes the Dean of Students to “initiate disciplinary proceedings” against “a



             Declaration of Katie McGee                                                           25
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             Student Organization that is alleged to have engaged in” prohibited activities in the

             following categories: (1) Local, State, or Federal Law Violations; (2) Weapons;

             (3) Dangerous Materials; (4) Threatening or Endangering Behavior; (5) Sex or Gender

             Based Harassment; (6) Theft; (7) Hazing or Hazing Activity; (8) Alcohol Misconduct;

             (9) Drugs; (10) Individual and/or Unauthorized Group Disturbance; (11) Harassment;

             (12) Property; (13) Technology Misuse; (14) Stalking; (15) Gambling; (16) False and

             Misleading Information; (17) Unauthorized Surveillance; (18) Disruptive Conduct;

             (19) Failure to Comply; (20) Violent Conduct; (21) Animal Cruelty; (22) University

             System and Institutional Violations; (23) Financial Misconduct; (24) Retaliation; and

             (25) Aiding in Academic Misconduct.

                      53.      The Dean of Students Office is investigating PSC for potential violations

             in multiple categories. 17

                      54.      Erecting tents and attempting to establish an encampment are

             prohibited by Handbook of Operating Procedures (“HOP”) 8-1050. 18 Under that

             policy, “[c]amping is not permitted” on UT Austin property. Camping includes

             “Establishing or maintaining outdoors, or in or under any structure not designated

             for human occupancy, at any time during the day or night, a temporary or permanent

             place for cooking, storing of personal belongings, or sleeping by setting up any

             bedding, sleeping bag, mattress, tent, hammock or other sleeping equipment, or by

             setting up any cooking equipment that has not been approved by the Office of



             17 The version of the rule that was in place in April 2024 will guide this investigation.
             18The issue with the tents on the lawn was both that it violated HOP 8-1050 and also that
             encampments are disruptive to operations.

             Declaration of Katie McGee                                                                  26
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             Environmental Health and Safety” as well as “The establishment of, or attempt to

             establish, temporary or permanent living quarters.”

                      55.      HOP 8-1010 prohibits campus violence. Campus violence is defined to

             include physically assaulting a person, “including slapping, hitting, punching,

             pushing, poking or kicking; or physical threats to inflict physical harm.”

                      56.      Chapter 13 of our Institutional Rules on Student Services and Activities

             establishes the University’s time, place, and manner restrictions for speech,

             expression, and assembly. Section 13-301 prohibits disruptions. Section 13-801

             prohibits unauthorized use of amplified sound. Section 13-600 prohibits unauthorized

             use of tables in areas on grass space, including the South Lawn. Section 13-105

             prohibits the use of face coverings to conceal the wearer’s identity. Chapter 13-1202

             requires all students and groups to comply with directives from staff and law

             enforcement.

                      57.      Chapter 11 of our Institutional Rules on Student Services and Activities

             establishes rules on Student Conduct and Academic Integrity. Section 11-402, on

             Behavioral Misconduct, mirrors the categories listed above for prohibited conduct by

             student organizations found in Section 6-404. Section 11-402(16) makes it a violation

             to fail to comply with the directives of any university official(s) acting in the

             performance of their duties, and who has the authorization to issue such directives.

             That same section also makes it a violation to fail to identify oneself to a university

             official when requested to do so.




             Declaration of Katie McGee                                                             27
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                      58.      Under Section 11-402(2), a person violates the university’s policy on

             weapons when one: “possesses, uses, or displays firearms, facsimile firearms,

             ammunition, explosives, or other items that could be used as weapons, including but

             not limited to sticks, poles, clubs, swords, shields, body-armor or make shift body-

             armor, masks, helmets and other garments, such as sporting protective gear, that

             alone or in combination could be reasonably construed as weapons or body-armor on

             property owned or controlled by the University, without written permission from the

             Dean of Students, unless authorized by federal, state or local laws; or, violates Policy

             8-1060, Campus Carry, of the Handbook of Operating Procedures” 19

                      59.      Failure to follow city, state, and federal laws, including criminal

             trespass, disorderly conduct, destruction of government property, and obstructing a

             roadway, is also a violation of university policy.

                    Had My Office Not Acted As It Did, We Would Have Undermined
                   Our Future Ability to Enforce Time, Place, and Manner Restrictions
                                on Speech and Ensure Campus Safety.

                      60.      UT Austin is committed to enforcing its Institutional Rules as written,

             regardless of the viewpoint being expressed. Those rules already seek to achieve a

             balance between freedom of expression, along with content-neutral time, place, and

             manner restrictions that allow the campus to operate safely and to ensure that all

             students are able to use and enjoy the campus. A refusal to enforce those Rules here—

             for instance by permitting this group to establish an encampment—would make it

             impossible for UT Austin to fairly enforce those rules in the future.


             19 Individuals with a handgun license may carry a concealed firearm on campus.

             https://www.utexas.edu/campus-carry.

             Declaration of Katie McGee                                                            28
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                                                      Conclusion

                      61.      I declare under penalty of perjury that the foregoing is true and correct.

             PURSUANT TO 28 U.S.C. § 1746, I VERIFY UNDER PENALTY OF PERJURY UNDER
             THE LAWS OF THE STATE OF TEXAS AND THE UNITED STATES OF AMERICA
             THAT THE FOREGOING IS TRUE AND CORRECT.



                                         
                      Executed on ____________________, 2024




                                                         Katie McGee
                                                         Interim Dean of Students and
                                                         Associate Vice President
                                                         Office of the Dean of Students
                                                         University of Texas at Austin




             Declaration of Katie McGee                                                               29
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                                   EXHIBIT A
      Chapter 13 of the UT Austin Institutional Rules in effect during April 2024
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                                                                                     speech that materially interferes with a person's education or
Chapter 13. Speech,                                                                  employment.
                                                                              b. This Chapter applies to speech by University persons and University
Expression, and                                                                  organizations in the common outdoor areas and the limited public
                                                                                 forums, and to speech by members of the public in the common
Assembly                                                                         outdoor areas. It also applies to speech made using the University’s
                                                                                 information resources as deﬁned in the Acceptable Use Policy
                                                                                 for University Students, regardless of whether the speech was
Subchapter 13–100. Governing Principles                                          submitted for academic credit. The Dean of Students administers
                                                                                 and schedules reservations for the use of the temporary exhibit and
Sec. 13–101. Freedom of Speech, Expression, and Assembly                         banner spaces and the use of University tables and ampliﬁed sound
a. The freedoms of speech, expression, and assembly are fundamental              because scheduling through a single ofﬁce is necessary to avoid
   rights of all persons and are central to the mission of the University.       conflicts.
   In accordance with this Chapter, students, faculty members, staff          c. Any program or event sponsored by an academic or administrative
   members, and Members of the Public have the right to assemble,                unit of the University will have priority in the use of space and
   to speak, and to attempt to attract the attention of others, and              facilities over any speech, expression, or assembly that is not
   corresponding rights to hear the speech of others when they choose            sponsored by an academic or administrative unit, except that
   to listen, and to ignore the speech of others when they choose not to         programs or events sponsored by an academic or administrative unit
   listen.                                                                       will not have priority in the use of weekday ampliﬁed sound areas
b. In furtherance of the University’s educational mission, the University        deﬁned in Section 13–802. This Chapter does not limit other existing
   buildings including their outside surfaces, surfaces associated with          authority of University ofﬁcials to authorize programs and events
   or connected to a University building, and University structures              sponsored by an academic or administrative unit and not provided
   are limited public forums open only to the expressive activities of           for in this Chapter.
   faculty, staff, and students as set forth in this Chapter. Members         d. Additional rules concerning free speech and academic freedom of
   of the Public may engage in expressive activities at the University           faculty members are found in the Regents’ Rules and Regulations,
   in accordance with the rules contained in this Chapter, including             Rule 31004, Paragraph 2, Sections 1 and 2.
   generally applicable or localized "time, place, and manner" rules          e. Additional rules concerning free speech at the University are
   as described in Subsection 13-304. Student, faculty, and staff                found in the Regents’ Rules and Regulations, Rule 40501, Rule
   organizations may not invite the public at large to events in                 80101, Rule 80103, and Rule 80104. Chapter 13 of the Institutional
   University buildings or facilities, or locations that are not in a            Rules implements those provisions and applies them to UT Austin.
   common outdoor area.                                                       f. Rules requiring University employees to make clear that controversial
c. Students, faculty, and staff members are free to express their views,         statements are made in their personal capacity are found in the
   individually or in organized groups, orally or in writing or by other         Regents’ Rules and Regulations, Rule 10101, Section 6.2. Rules
   symbols, on any topic, in all parts of the campus, subject only to            restricting use of University equipment, supplies, services, and
   rules necessary to preserve the equal rights of others and the other          working hours for political activities are found in the Regents’ Rules
   functions of the University. Teaching, research, and other ofﬁcial            and Regulations, Rule 30103.
   functions of the University will have priority in allocating the use of    g. If a deadline stated in this Chapter falls on a Saturday, Sunday,
   space on campus. Members of the Public may engage in expressive               University holiday, or skeleton crew day, that deadline will be moved
   activities only in common outdoor areas of the campus, and subject            to the next day that is not a Saturday, Sunday, University holiday, or
   to the time, place, and manner rules necessary to preserve the                skeleton crew day.
   functions of the University, as set forth in subsection 13-304.
d. The University will not discriminate on the basis of the political,       Sec 13–103. General Definitions—Categories of Speakers
   religious, philosophical, ideological, or academic viewpoint expressed    and Users
   by any person, either in the enforcement and administration of these      In this Chapter, unless the context requires a different meaning, the
   rules or otherwise. This subsection does not limit the University's       following deﬁnitions apply.
   ability to enforce provisions involving prohibited categories of
   expression described in Subchapter 13-200.                                 1. “Academic or administrative unit” means any ofﬁce or department of
e. The University of Texas at Austin Police Department (UTPD)                    the University.
   may immediately enforce these rules if a violation of these rules          2. “Event” means something that occurs in a certain place during
   constitutes a breach of the peace or compromises public safety.               a particular interval of time. Events include but are not limited to
                                                                                 presentations by guest speakers, public assemblies, and other
Sec. 13–102. Scope of This Chapter and Related Provisions                        speech activities, which may include the distribution of literature or
a. This Chapter protects and regulates on-campus speech, expression,             the use of exhibits, tables, or signs.
   and assembly of students, faculty members, staff members, and              3. “Faculty member and staff member” includes any person who is
   members of the public, regardless of whether those activities are part        employed by the University.
   of the teaching, research, or other ofﬁcial functions of the University    4. “Off-campus person or organization” and “member of the public”
   or whether they are sponsored by the University or any academic or            mean any person, organization, or business that is not an academic
   administrative unit.                                                          or administrative unit, a registered student, faculty, or staff
    1. This Chapter also regulates certain speech that is part of the            organization, or a student, faculty member, or staff member.
       teaching, research, or other ofﬁcial functions of the University.
                                                                              5. "Registered faculty or staff organization" means a faculty
    2. Section 13–204 on harassment applies to all speech on campus,             organization or staff organization under the Regents' Rules and
       to speech made using University resources, and to off-campus              Regulations, Rule 40201 and Handbook of Operating Procedures
                                                                                 4-1110.



                                                      Chapter 13. Speech, Expression, and Assembly ► Chapter 13. Speech, Expression, and Assembly         1
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6. “Registered or sponsored student organization” means a registered         9. “University” means The University of Texas at Austin.
   student organization or a sponsored student organization under           10. “Vice president” means the Vice President for Student Affairs at The
   Subchapter 6–200 of the Institutional Rules.                                 University of Texas at Austin.
7. “Student” means a person who is currently enrolled at the University,
   or has been enrolled at the University in a prior semester (including    Sec. 13-105. Prohibited Items or Actions
   summer) and is eligible to continue enrollment in the semester that      The following restrictions are intended to protect the health and safety of
   immediately follows.                                                     all persons on campus, to maintain the free flow of pedestrian trafﬁc in
8. “University person or organization” includes academic or                 and out of University buildings, and to protect the educational mission of
   administrative units, registered or sponsored students organizations,    the University.
   registered faculty or staff organizations, and individual students,
                                                                             a. The following items are prohibited on campus:
   faculty members, and staff members.
                                                                                 i. A mask, facial covering, or disguise that conceals the identity
Sec. 13–104. Other General Definitions                                              of the wearer that is calculated to obstruct the enforcement
                                                                                    of these rules or the law, or to intimidate, hinder or interrupt a
In this Chapter, unless the context requires a different meaning, the
                                                                                    University ofﬁcial, UTPD ofﬁcer, or other person in the lawful
following deﬁnitions apply.
                                                                                    performance of their duty;
1. “Ampliﬁed sound” means sound whose volume is increased by any                 ii. The possession, use, or display of ﬁrearms, facsimile ﬁrearms,
   electric, electronic, mechanical, or motor-powered means. Shouting,               ammunition, explosives, or other items that could be used as
   group chanting, and acoustic musical instruments are exempt from                  weapons, including but not limited to sticks, poles, clubs, swords,
   this deﬁnition and are not subject to the special rules on ampliﬁed               shields, or rigid signs that can be used as a shield, without
   sound, but are subject to general rules on disruption.                            written permission from the Dean of Students, unless authorized
2. “Common outdoor area” means outdoor space that is not regularly                   by federal, State or local laws;
   used for dedicated University business and does not have an                  iii. Body-armor or make shift body-armor, helmets and other
   educational function, or a research function. It does not include the             garments, such as sporting protective gear, that alone or in
   outside surfaces of a University building, surfaces associated with               combination could be reasonably construed as weapons or body-
   or connected to a University building, a University structure, spaces             armor, without written permission from the Dean of Students; and
   dedicated to temporary outdoor banners, spaces dedicated to                  iv. Open flame, unless approved in advance by The University of
   temporary outdoor exhibits, or any other space within the University’s           Texas at Austin Fire Marshal.
   limited public forum. Common outdoor areas are designated by state        b. No person or organization may engage in expressive activity within
   law as traditional public forums.                                            a ten-foot clearance around points of entry and the perimeter of all
3. “Dean of students” means the dean of students of The University              University buildings.
   of Texas at Austin or any delegate or representative of the dean of
   students.                                                                Subchapter 13–200. Prohibited Expression
4. “Limited public forum” means the University property, both indoors       Sec. 13–201. Obscenity
   and outdoors, that is not a common outdoor area. This includes the
                                                                            No person or organization will distribute or display on the campus any
   outside surfaces of a University building, surfaces associated with
                                                                            writing or visual image, or engage in any public performance, that is
   or connected to a University building, a University structure, spaces
                                                                            obscene. A writing, image, or performance is “obscene” if it is obscene
   dedicated to temporary outdoor banners, spaces dedicated to
                                                                            as deﬁned in Texas Penal Code, Section 43.21 or successor provisions,
   temporary outdoor exhibits, and residential outdoor spaces managed
                                                                            and is within the constitutional deﬁnition of obscenity as set forth in
   by University Housing and Dining including Jester Spanish Oaks
                                                                            decisions of the United States Supreme Court.
   Terrace, San Jacinto Amphitheatre, Honors Quad, Duren Courtyard,
   the Blanton Museum’s outdoor Plaza and Art Garden, the Union             Sec. 13–202. Defamation
   Building Patios, the William C. Powers Jr. Student Activity Center
                                                                             a. No person shall publish to a third party any statement that defames
   patios, Goldsmith Hall, and the Cronkite Plaza.
                                                                                any other person.
5. “Main Mall” means the area bounded by the south wall of the Main
                                                                             b. A statement defames another person if it is: (i) published to a
   Building, the west walls of Garrison Hall, the north edge of Inner
                                                                                third party other than the subject of the statement or their legal
   Campus Drive, the south wall of the Dorothy L. Gebauer Building and
                                                                                representative; (ii) of and concerning that person; (iii) is a false
   the east wall of Battle Hall. The Main Mall includes the south steps
                                                                                statement of fact; (iv) that holds the person up to hatred ridicule or
   and south porches of the Main Building.
                                                                                contempt; (v) is made negligently, if the person is a private ﬁgure
6. “Room or space” includes any room or space, indoors or outdoors,             or, if the person is a public ofﬁcial or public ﬁgure, with knowledge
   owned or controlled by the University.                                       of falsity or reckless disregard of the truth; (vi) which proximately
7. "Temporary banner space" means designated outdoor or indoor                  causes damages; and (vii) is not privileged.
   display area reserved for University persons and University
   organizations' use, as managed by the dean of students, where a          Sec. 13–203. Incitement to Imminent Violations of Law
   University person or organization's temporary banner may be afﬁxed       No person will make, distribute, or display on the campus any statements
   for multiple days as permitted by Subsection 13-503. These areas         directed to inciting or producing imminent violations of law under
   are part of the University's limited public forum and not open to        circumstances such that the statements are likely to actually and
   members of the public.                                                   imminently incite or produce violations of law.
8. “Temporary exhibit space” means an outdoor display area designated
   and managed by the Dean of Students, where an authorized person          Sec. 13–204. Harassment
   or organization may erect a temporary exhibit as permitted by             a. No person will engage in conduct that constitutes harassment
   Subsection 13–503. These areas are part of the University’s limited          of another person or make, distribute, or display on the campus
   public forum and not open to members of the public.                          or through University information resources any statement that
                                                                                constitutes harassment of any other person. This Section applies to


2   Chapter 13. Speech, Expression, and Assembly 07/08/24
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   all speech at UT Austin, all speech made using University resources,          Investigation of the information provided, and any remedial or
   including speech that is part of teaching, research, or other ofﬁcial         disciplinary proceedings, will proceed under the procedures set out in
   functions of the University whether in person or not, and whether             the harassment policies cross-referenced in Subsection 13-204 (d).
   oral, written, or symbolic, and off-campus speech that materially
   interferes with a person's education or employment.                       Sec. 13–205. Solicitation and Commercial Speech
    1. "Harassment" means hostile or threatening conduct or speech,           a. General Rules.
        whether oral, written, or symbolic, that:                                 1. No University person, University organization, or member of
         A. is sufﬁciently severe, pervasive, and objectively offensive              the public will make, distribute, or display on the campus any
            to create an objectively hostile or threatening environment              statement that promotes, offers, or advertises any product or
            that interferes with or diminishes the victim’s ability to               service for sale or lease that includes commercial identiﬁers,
            participate in or beneﬁt from the services, activities, or               such as for-proﬁt logos, trademarks, and service marks, or
            privileges provided by the University; and                               that requests any gift or contribution, except as authorized
       B. personally describes or is personally directed to one or more              by Subsection 13–205(b), by section 13–403, or by the
          speciﬁc individuals.                                                       Regents’ Rules and Regulations.
       C. When harassment is sex or gender based, the deﬁnitions for              2. Words or symbols on personal apparel, or on decals or bumper
          quid pro quo and hostile environment harassment, set out in                stickers afﬁxed to a vehicle by an owner of that vehicle, are not
          Handbook of Operating Procedure 3-3031(V)(E), apply over                   solicitation within this deﬁnition.
          this policy's harassment provision.                                     3. Unadorned acknowledgments or thanks to donors are not
b. To make an argument for or against the substance of any political,                solicitation within this deﬁnition.
   religious, philosophical, ideological, or academic idea is not             b. Rules speciﬁc to campus community members.
   harassment, even if some listeners are offended by the argument or             1. A registered or sponsored student or a registered faculty or staff
   idea.                                                                             organization may advertise or sell merchandise, publications,
c. Verbal harassment may consist of threats, insults, epithets, ridicule,            food, or nonalcoholic beverages, or request contributions: for the
   personal attacks, or the categories of harassing sexual speech set                beneﬁt of the registered or sponsored student organization or
   forth in Policy 3-3031 of the Handbook of Operating Procedures.                   registered faculty or staff organization; for the beneﬁt of another
                                                                                     registered or sponsored student organization or registered
d. Harassment can also consist of nonverbal conduct, such as hazing,
                                                                                     faculty or staff organization; or for the beneﬁt of an organization
   practical jokes, damage to property, and physical assault. In the
                                                                                     that is tax-exempt under Section 501(c)(3) of the Internal
   case of sexual harassment and other sex-based misconduct,
                                                                                     Revenue Code. No organization may sell items obtained on
   sexual conduct is often central to the offense. These forms of
                                                                                     consignment. No organization may request contributions for an
   harassment are prohibited by Policy 3-3031 of the Handbook of
                                                                                     off-campus tax-exempt organization for more than fourteen days
   Operating Procedures, and by the Regents’ Rules and Regulations,
                                                                                     in any ﬁscal year.
   Rule 30105. Some forms of harassment violate the Prohibition of
   Campus Violence, Policy 8-1010, in the Handbook of Operating                   2. Registered or sponsored student organizations, registered
   Procedures. Harassment directed at an individual or group of                      faculty or staff organizations, and academic or administrative
   individuals because of race, sex, or certain other characteristics                units, may sell, distribute, or display literature that contains
   is prohibited by Handbook of Operating Procedures 3-3020. For                     advertising, subject to the limits in Section 13–403. Individual
   enhanced sanctions for disciplinary offenses motivated by the race,               students, faculty members, and staff members may distribute or
   color, or national origin of a student harmed by the offense, see                 display such literature, but may not sell it.
   Subsection 11–701(b) of the Institutional Rules. To the extent of any          3. Individual students, faculty members, and staff members may
   conflict in the deﬁnition of verbal harassment, the more detailed                 post advertisements for roommates, subleases, and sales of
   deﬁnition in this Section controls.                                               used goods that the seller has personally owned and used, but
e. An essential part of higher education is to learn to separate                     only on a bulletin board or website designated for that purpose
   substantive argument from personal offense. Inherent in freely                    by an academic or administrative unit in space that the unit
   exploring ideas and engaging in educational inquiry is discussion                 occupies or controls. Any unit that designates a bulletin board
   where controversial and offensive ideas may be expressed and                      or website for this purpose may regulate that bulletin board or
   even welcomed in furtherance of free inquiry and pursuit of                       website under the procedures set forth in Section 13–504.
   knowledge. We strive as a university community to express even the             4. A resident of a University residence hall or apartment building
   deepest disagreements in a manner that reflects mutual respect,                   may occasionally invite one or more salespersons to come to
   understanding, and sensitivity within the University and in the larger            the resident’s room or apartment, and in that room or apartment,
   society. These are community norms, even though they cannot be                    the salesperson may offer products or services for sale to other
   enforced by disciplinary rules. Sometimes community members may                   residents of that residence hall or apartment building.
   engage in a manner that falls short of the desired norms, but this             5. A registered or sponsored student organization or a registered
   failure does not convert the communication at issue to harassment                 faculty or staff organization may collect admission fees for
   or a conduct violation.                                                           programs scheduled in advance in accordance with Subchapter
f. Verbal harassment has been interpreted very narrowly by the federal               10–200 of the Institutional Rules.
   courts. Policies on verbal harassment or hate speech at many                   6. A registered or sponsored student organization or a registered
   universities have been held unconstitutional, either because they                 faculty or staff organization may collect membership fees or
   prohibited harassment only when it was based on race, sex, and                    dues at meetings of the organization scheduled in advance under
   similar categories, or because they failed to protect the expression              Subchapter 10–200 of the Institutional Rules.
   of potentially offensive ideas. This policy should be interpreted as           7. A registered student organization that is a qualiﬁed organization
   narrowly as need be to preserve its constitutionality.                            as that term is deﬁned in the Texas Charitable Raffle Enabling
g. Members of the University community are strongly encouraged                       Act, Texas Occupations Code, Chapter 2002, or successor
   to report harassment and in some cases are required to do so                      provisions, may sell charitable raffle tickets pursuant to that act.
   by law. See HOP 3-3031 and HOP 3-3020 for more information.

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    8. A registered or sponsored student organization or a registered               Occasional heckling in the speaker’s pauses may not disrupt a
       faculty or staff organization may host a public performance                  political speech, but persistent heckling that prevents listeners
       of a ﬁlm scheduled in advance in accordance with Subchapter                  from hearing the speaker does disrupt a political speech. These
       10–200 of the Institutional Rules. In accordance with the                    illustrations may be helpful, but none of them includes enough
       Regents’ Rules and Regulations, Rule 80103, admission fees may               context to be taken as a rule. We cannot escape relying on the
       be collected. All registered or sponsored student organizations              judgment and fairness of University authorities in particular
       or registered faculty or staff organizations that exhibit ﬁlms               cases. In this context where difﬁcult enforcement judgments
       on campus must obtain a Public Performance License for the                   are unavoidable, administrators and law enforcement ofﬁcials'
       individual ﬁlm(s) from a licensing agent. This license is required             judgments should not be influenced by the viewpoint of those
       even if the exhibition of the ﬁlm is offered to the public for free          claiming disruption or of those allegedly disrupting.
       and is educational in nature. Registered or sponsored student         c. Potentially disruptive events can often proceed without disruption if
       organizations and registered faculty or staff organizations will be      participants, administrators, and law enforcement ofﬁcials cooperate
       required to follow the process prescribed by the ﬁlm distributor         to avoid disruption without stopping the event. In cases of marginal
       to obtain approval to exhibit the ﬁlm. Federal copyright laws            or unintentional disruption, administrators and law enforcement
       generally protect all ﬁlms viewed in public areas, regardless of         ofﬁcials should clearly state what they consider disruptive and
       format. However, registered or sponsored student organization            seek voluntary compliance before stopping the event or resorting to
       and a registered faculty or staff organization may exhibit a ﬁlm         disciplinary charges or arrest.
       publicly if:
        A. the ﬁlm is in the public domain;                                  Sec. 13–302. Damage to Property
        B. the organization has written permission from the ﬁlm’s            a. No speech, expression, or assembly may be conducted in a way that
           producer or other holder of the right to grant such                  damages, defaces, marks (including by chalking), discolors, or alters
           permission; or                                                       in any way property of the University or of any person who has not
        C. the ﬁlm is obtained from a company that provides a Public            authorized the speaker to damage or deface his or her property.
           Performance License with the purchase or rental of the ﬁlm.       b. No person may damage, deface, mark, discolor, alter, or interfere with
c. More detailed regulation of solicitation appears in the Regents’ Rules       any sign, table, or exhibit posted or displayed by another person or
   and Regulations, Rule 80103.                                                 organization acting under the rules in this Chapter.

Subchapter 13–300. General Rules on Means of                                 Sec. 13–303. Coercing Attention
Expression                                                                   a. No person may attempt to coerce, intimidate, or badger any
                                                                                other person into viewing, listening to, or accepting a copy of any
Sec. 13–301. Disruption
                                                                                communication.
a. Except as expressly authorized in Section 13–802, or by an                b. No person may persist in requesting or demanding the attention of
   authorized University ofﬁcial responsible for a program or event             any other person after that other person has attempted to walk away
   sponsored by an academic or administrative unit, no speech,                  or has clearly refused to attend to the speaker’s communication.
   expression, or assembly may be conducted in a way that disrupts or
   interferes with:                                                          Sec. 13–304. Other Rules with Incidental Effects on Speech
    1. Any teaching, research, administration, function of the University,   a. Other generally applicable or narrowly localized rules, written
       or other authorized activities on the campus;                            and unwritten, incidentally limit the time, place, and manner of
    2. The free and unimpeded flow of pedestrian and vehicular trafﬁc           speech, but are too numerous to compile or cross-reference
       on the campus; or                                                        here. For example, libraries typically have highly restrictive rules
    3. Any public assemblies, distribution of literature, guest speakers,       concerning noise; laboratories and rooms containing the electrical
       or use of signs, tables, exhibits, or ampliﬁed sound by the              and mechanical infrastructure of the University typically have safety
       University of another person or organization acting under the            rules and rules excluding persons without speciﬁc business there;
       rules in this Chapter.                                                   ﬁre and safety codes prohibit the obstruction of exits and limit the
b. Scope                                                                        constriction of hallways. Speech within classrooms is generally
    1. The term “disruption” and its variants, as used in this Rule,            conﬁned to the subject matter of the class; the right to attend a class
       are distinct from and broader than the phrase “disruption of             at all is subject to registration and payment of tuition; individual
       activities,” as used in the Regents’ Rules and Regulations, Rule         professors may have rules of decorum in their classrooms. These
       30103, Number 2, Section 2, and the phrase “disruptive activities,”      "time, place, and manner" rules limit the rights of persons to enter
       as used in the Regents’ Rules and Regulations, Rule 40502.               and speak in the places to which these rules apply.
       This Rule is concerned not only with deliberate disruption, but       b. Reasonable and nondiscriminatory "time, place, and manner" rules
       also with scheduling and coordination of events to manage or             generally control over the rights of free speech guaranteed in this
       minimize the inevitable conflicts between legitimate events              Chapter. But even "time, place, and manner" rules are subject to the
       conducted in close proximity, and to preserve the University’s           constitutional right of free speech. Accordingly, such rules must
       ability to execute its functions.                                        be viewpoint neutral and cannot regulate speech more restrictively
    2. Except in the most extreme cases, interference and disruption            than they regulate other activities that cause the problems to be
       are unavoidably contextual. Intentional physical interference            avoided by the rule, or speech more than is reasonably necessary
       with other persons is nearly always disruptive in any context.           to serve their purpose. Such rules cannot ban unobtrusive forms
       Interfering with trafﬁc depends on the relation between the              of communication with no potential for disruption even in the
       volume of trafﬁc and the size of the passageway left open.               specialized environment subject to the localized rule. Thus, for
       Disruptive noise is the most contextual of all, because it depends       example, means of silent expression or protest conﬁned to the
       on the activity disrupted. Any distracting sound may disrupt             speaker’s immediate person, such as armbands, buttons, and T-
       a memorial service. Any sound sufﬁciently loud or persistent             shirts, are nearly always protected because they are rarely disruptive
       to make concentration difﬁcult may disrupt a class or library.           in any environment.


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Subchapter 13–400. Distribution of Literature                                      for those areas allowed by long standing tradition or otherwise
                                                                                   allowed by Subsections 13–304(a), (b), and 13–504(a). Subject to
Sec. 13–401. General Rule on Distribution of Literature
                                                                                   viewpoint-neutral size requirements, University Housing and Dining
 a. “Literature” means any printed material, including any newspaper,              has designated the windows and doors of a residence hall room as
    magazine, or other publication, and any leaflet, flyer, or other informal      locations where the resident(s) of that room may post signs. Section
    matter, that is produced in multiple copies for distribution to potential      13–504 lists other designated locations.
    readers.
b. Registered or sponsored students organizations, registered faculty           Sec. 13–502. Hand-Held Signs
   or staff organizations, and academic or administrative units may             a. A University person or University organization may display a sign
   sell, distribute, or display literature on campus, subject to the rules         on campus by holding or carrying it by hand or attaching it to their
   in this Subchapter and to the general rules in Subchapter 13–200                person. Members of the public may display a sign in the common
   and Subchapter 13–300. Individual students, faculty members,                    outdoor areas by holding or carrying it by hand or attaching it to their
   and staff members may distribute or display literature, subject to              person. No advance permission is required. Signs on sticks or poles
   the rules in this Subchapter and to the general rules in Subchapter             or otherwise attached to any device are prohibited.
   13–200 and Subchapter 13–300, but may not sell it. In either case,           b. Hand-held signs constructed of materials that create a hazard to
   no advance permission is required. Members of the public may                    other people are not permitted. Signs constructed of rigid materials,
   distribute literature in the common outdoor areas, subject to the               including sticks, poles, wood, metal, hard plastic, or other materials
   rules in this Subchapter and to the general rules in Subchapter 13–             that could be construed as a hazard are not permitted.
   200 and Subchapter 13–300, but may not sell literature.
                                                                                 c. Any person holding or carrying a sign will exercise due care to avoid
Sec. 13–402. Not-for-Profit Literature Only                                         bumping, hitting, or injuring any other person.
                                                                                d. Any person holding or carrying a sign at a speech, performance,
 a. Except as expressly authorized by the Regents’ Rules and
                                                                                   or other event will exercise due care to avoid blocking the view of
    Regulations or by contract with the University, no person or
                                                                                   any other person observing the speech, performance, or event.
    organization may sell, distribute, or display on campus any
                                                                                   Depending on the venue, this may mean that signs may be displayed
    publication operated for proﬁt. A registered or sponsored student
                                                                                   only around the perimeter of a room or an audience.
    organization or a registered faculty or staff organization may sell
    publications operated for proﬁt as part of a fund-raiser authorized by,      e. A law enforcement ofﬁcer, the dean of students, or an usher or
    and subject to the limits of, Subsection 13–205(b)(1).                          other University employee (if authorized by ofﬁcials responsible for
                                                                                    managing the venue), may warn any person that his or her sign is
b. A publication is operated for proﬁt if any part of the net earnings of
                                                                                    being handled in violation of Subsections 13–502(a), (b), (c) or (d).
   the publication, or of its distribution, beneﬁts any private shareholder
                                                                                    If the violation persists after a clear warning, the law enforcement
   or individual.
                                                                                    ofﬁcer, dean of students, authorized usher, or other authorized
Sec. 13–403. Limits on Advertising                                                  employee may conﬁscate the sign. A law enforcement ofﬁcer may
                                                                                    take any action necessary to keep the peace including but not limited
Literature distributed on campus may contain the following advertising:
                                                                                    to issuing a criminal trespass warning to or arresting the violator.
1. advertising for a registered or sponsored student organization,
   a registered faculty or staff organization, or an academic or                Sec. 13–503. Banners
   administrative unit;                                                         “Banner” means an afﬁxed, stationary sign hung from a structure or
2. advertising for an organization that is tax exempt under Section             building or between two buildings, structures, or poles. Banners on poles
   501(c)(3) of the Internal Revenue Code;                                      may not be carried by individuals.

3. paid advertising in a publication primarily devoted to promoting the         a. Hand-held banners. University persons, University organizations, and
   views of a not-for-proﬁt organization or to other bona ﬁde editorial            members of the public are permitted to display a hand-held banner
   content distinct from the paid advertising; and                                 carried by two or more individuals without poles, in accordance with
4. other advertising expressly authorized by the Regents’ Rules and                Rule 13–502(a) above, in the common outdoor areas.
   Regulations or by contract with the University.                              b. Temporary banner space designations.
                                                                                    1. The dean of students will designate temporary banner spaces
All other advertising in literature distributed on campus is prohibited.
                                                                                       where banners may be hung in outdoor locations not occupied
Sec. 13–404. Clean Up of Abandoned Literature                                          or controlled by any other academic or administrative unit.
                                                                                       Temporary banner spaces are not open to members of the public.
Any person or organization distributing literature on campus will pick
up all copies dropped on the ground in the area where the literature was            2. Other academic or administrative units may designate one or
distributed.                                                                           more temporary banner spaces where banners may be hung in
                                                                                       indoor or outdoor locations that the unit occupies or controls.
Subchapter 13–500. Signs and Banners                                                   These temporary banner spaces are not open to members of the
                                                                                       public.
Sec. 13–501. General Rule on Signs
                                                                                 c. Space priority.
 a. “Sign” means any method of displaying a visual message to others,
                                                                                     1. Academic or administrative units, registered or sponsored
    except that transferring possession of a copy of the message is
                                                                                        student organizations, and registered faculty and staff
    distribution of literature and not a sign.
                                                                                        organizations may hang banners in locations designated
b. Subject to the rules in this Subchapter and to the general rules in                  under Subsection 13–503 (b). The Dean of Students may set
   Subchapter 13–200 and Subchapter 13–300, a University person                         reasonable limits on the number of banners that any unit or
   or organization may display a sign by holding or carrying it, by                     organization may hang at one time. Individuals and members of
   displaying it at a table (see Subchapter 13–600), or by posting it                   the public may not hang banners.
   on a bulletin board or other designated location. Signs may not
                                                                                    2. Advance permission is required from the unit administering the
   be staked in the ground or posted in any other location except
                                                                                       location; usually, advance reservations are required. Academic


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          and administrative units advertising ofﬁcial University events         e. This Section does not apply to any enclosed bulletin board or display
          or programs may be given priority. In locations administered by           case that is accessible only to authorized personnel for ofﬁcial
          academic or administrative units other than the dean of students,         University business.
          organizations afﬁliated with the unit administering the location
          may be given priority.                                                Subchapter 13–600. Tables
d. Time limits.                                                                 Sec. 13–601. General Rule on Tables
    1. In locations administered by the dean of students, each banner           University persons and University organizations may set up tables to
       may be hung for two weeks. The banner may be renewed from                display literature, disseminate information and opinions, and raise funds,
       week to week, for up to four weeks, if space is available.               subject to the location restrictions and other rules in this Subchapter
       2. Other units administering a location for banners may limit the        and to the general rules in Subchapter 13–200, Subchapter 13–300, and
          time each banner may hang. Any such time limit will be applied        Subchapter 13–1000. University persons and University organizations
          without discrimination to all organizations, except that academic     do not need advance permission to set up tables but are encouraged to
          or administrative units may be given preference.                      reserve tabling space on the West Mall and in other high-demand areas
e. The dean of students will maintain, on a website or on a flyer or            where tabling spaces are designated and limited. Subject to the above
   pamphlet available at the dean of students' ofﬁce:                           rules, members of the public may set up tables in the common outdoor
    1. a list of outdoor temporary banner spaces where banners may be           areas and do not need advance permission except on the West Mall and
       hung;                                                                    on the east side of Speedway between 21st Street and the south edge of
       2. the academic or administrative unit that administers this banner      Gregory Plaza; in those locations, members of the public may not set up
          policy at each outdoor location; and                                  tables without obtaining a reservation as described below. Members of
                                                                                the public may not set up tables in the University’s limited public forum
       3. a current description of the rules and procedures for reserving a
                                                                                areas.
          temporary banner space in order to hang a banner in locations
          administered by the dean of students.                                 Sec. 13–602. Locations
    f. The unit administering a banner location may require that the            a. Subject to the restrictions elsewhere in these rules, including
       physical work of hanging the banners be performed only by                   in Subsection 13–602(b) and the rules on disruption of other
       Department of Facilities Services employees or other appropriate            functions and interference with vehicular and pedestrian trafﬁc (see
       University personnel.                                                       Section 13–301), University persons, University organizations, and
                                                                                   members of the public may set up tables on impervious surfaces
Sec. 13–504. Signs in Other Designated Locations (Including
                                                                                   in the common outdoor areas on the campus. Tables may not be
Departmental Bulletin Boards)
                                                                                   set up in areas covered by grass, landscaping, or other pervious
a. Each academic or administrative unit may authorize the posting of               substances. University persons and University organizations may set
   signs in spaces that unit occupies and controls. Such authorization             up tables in University buildings in any large, open, indoor location as
   may be granted by general rule, by stamping or initialing individual            permitted by the speciﬁc building protocols and with permission of
   signs, or by long standing tradition.                                           the academic or administrative unit controlling the space. In some
b. Signs in spaces occupied by academic or administrative units may                buildings, tabling may be prohibited completely. The Main building is
   be:                                                                             not available for tabling at any time.
    1. conﬁned to bulletin boards or other designated locations;                b. Additional restrictions.
       2. subjected to viewpoint-neutral rules limiting the size of signs,          1. Tables may not be set up on the Main Mall between 8:00 am
          limiting how long they may be posted, requiring each sign                    and 5:00 pm on weekdays, or on the west side of any portion of
          to show the date it was posted and the name of the person                    Speedway at any time.
          or organization who posted it, and similar rules designed to              2. Tables may not be set up inside any library, classroom, laboratory,
          facilitate fair and equal opportunities to post signs; and                   performance hall, stadium, or ofﬁce, or in any hallway less
       3. conﬁned to ofﬁcial statements or business of the unit, or to                 than ten feet wide, without permission from the academic or
          certain subject matters of interest within the unit, or to signs             administrative unit that controls the space, or from the faculty
          posted by persons or organizations afﬁliated with the unit.                  member or staff member who controls the space at a particular
c. Each academic or administrative unit will post on or near each                      time.
   bulletin board or other designated location that it administers:                 3. An academic or administrative unit may further specify these
    1. either the rules applicable to that bulletin board or location, or              rules by restricting tables to reasonable locations in spaces
       a particular ofﬁce or website where the rules applicable to that                occupied by that unit. Academic and administrative units are
       bulletin board or location may be found; and                                    encouraged to state any such rules clearly in writing and to
       2. if a stamp or initials are required on signs before they are posted          publish those rules on a website or on a flyer or pamphlet
          on that bulletin board or location, the name and ofﬁce location of           available at the chief administrative ofﬁce of the unit.
          the person whose stamp or initials are required.                          4. Tabling space on the West Mall or on the east side of Speedway
       3. This notice will be posted in the upper left corner of each                  between 21st Street and the south edge of Gregory Plaza may
          bulletin board or other designated location for posting signs,               be reserved by University persons, University organizations,
          or conspicuously in another nearby location. If no such notice               and members of the public by submitting a request using the
          is posted, then the only applicable rules are those contained in             Hornslink.org Public Reservation Form. Members of the general
          Subchapter 13–200 and Sections 13–301 to 13–304.                             public who wish to table on the West Mall or on the east side of
d. Within the scope of the subject matters permitted on a particular                   Speedway between 21st Street and the south edge of Gregory
   bulletin board or other designated location, no academic or                         Plaza must have a reservation. University persons and University
   administrative unit will discriminate on the basis of the political,                organizations are not required to have a reservation to table on
   religious, philosophical, ideological, or academic viewpoint expressed              the West Mall or on the east side of Speedway between 21st
   on a sign.                                                                          Street and the south edge of Gregory Plaza, but are encouraged
                                                                                       to secure a reservation. Tabling space on the west Mall or on the


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       east side of Speedway between 21st Street and the south edge                   by the Dean of Students. Applications must, where feasible,
       of Gregory Plaza may be reserved up to four weeks in advance                   be submitted at least 14 days in advance of the beginning
       by University persons or organizations and up to three weeks in                of the requested display period. The Dean of Students will
       advance by members of the general public.                                      approve a general exhibit described in a completed and timely
    5. Tables must be attended at all times. Unattended tables and their              application under Section 13–702 unless the Dean of Students
       contents may be conﬁscated by University personnel.                            disapproves the application under the criteria in Section 10–203
                                                                                      of the Institutional Rules, or for other good cause. The Dean of
 c. If any table is set up in a prohibited or disruptive location, any
                                                                                      Students will, if possible, advise the applicant how to correct any
    University employee pointing out the violation is encouraged to also
                                                                                      conditions that preclude approval of the application.
    point out other locations, as nearby as is reasonably possible, where
    the table is permitted.                                                        2. The Dean of Students will consider the totality of the
                                                                                      circumstances, including safety concerns, as part of the approval
Sec. 13–603. Tabling Cleanup                                                          process.
Every person or organization sponsoring a table will remove their table,       b. A-frame exhibits.
items used during tabling, and any litter from the area around the table           1. The dean of students will designate locations where A-frame
before vacating the space.                                                            exhibits may be placed. If an academic or administrative unit,
                                                                                      a registered or sponsored student organization, or a registered
Sec. 13–604. Sources of Tables                                                        faculty or staff organization wishes to place an A-frame exhibit
University persons and organizations may supply their own tables. In                  in a location that is not one of the designated A-frame exhibit
addition, the dean of students maintains a supply of tables for registered            locations, then the structure will be considered a general exhibit
or sponsored student organizations that may be checked out for use on                 under this Subchapter and may be placed, if approved, only
campus in designated areas. The Dean of Students will maintain, on a                  in a designated temporary outdoor exhibit space. Members
website or on a flyer or pamphlet available at the ofﬁce of the dean of               of the public and individual students, faculty, or staff may not
students, a current description of the rules and procedures for checking              erect A-frame exhibits outside of the designated A-frame exhibit
out tables. Members of the general public, and University persons and                 locations.
organizations other than registered or sponsored student organizations,            2. The Dean of Students will maintain, on a website, a current
must supply their own tables.                                                         description of the rules and procedures for reserving a space for
                                                                                      A-frame exhibits on campus. Space for A-frame exhibits may be
Subchapter 13–700. Exhibits                                                           reserved up to four weeks in advance by members of the general
Sec. 13–701. General Rule on Exhibits                                                 public. The Dean of Students may establish reasonable limits
a. “General exhibit” means an object or collection of related objects,                on the number of times per semester or per academic year an
   designed to stand on the ground or on a raised surface, which is not               individual or organization may reserve space for an A-frame
   a table, is designed for temporary display, and is not permanently                 exhibit.
   attached to the ground.                                                         3. The Dean of Students may establish reasonable limits on the
b. “A-frame exhibit” means a movable and self-supported sign board                    number of A-frame exhibits that an individual or organization
   designed to stand on the ground and remain overnight in a temporary                may display in a designated area, or on campus, at any time.
   outdoor exhibit space. A-frame exhibits may not exceed ﬁve feet in
                                                                              Sec. 13–704. Time Limits
   height or width. Structures that do not meet these criteria will be
   considered general exhibits and will be subject to the rules governing      a. General exhibits.
   general exhibits.                                                               1. In locations administered by the dean of students, each exhibit
                                                                                      may be displayed for up to fourteen consecutive days. The
 c. Academic or administrative units, registered or sponsored student
                                                                                      exhibit may be renewed for an additional fourteen days if space
    organizations, and registered faculty or staff organizations may
                                                                                      is available.
    erect general exhibits and A-frame exhibits, subject to the rules in
    this Subchapter and to the general rules in Subchapter 13–200,                 2. The exhibit may be displayed no earlier than 8:00 am and must
    Subchapter 13–300, and Subchapter 13–1000. Advance permission                     be removed by 10:00 pm each day and may be re-erected each
    is required from the dean of students, except that an academic                    morning during the permit period. Requests to display exhibits
    unit may authorize indoor exhibits in a space that it occupies and                overnight will be considered on a case-by-case basis and subject
    controls. A-frame exhibits may not be erected on the Main Mall at                 to Subsection 13-703.
    any time. Members of the public and individual students, faculty, or           3. If an exhibit displayed without permissions, including outside the
    staff may not erect general exhibits, but may - with permission from              permit period, the exhibit may be removed by the Department of
    the Dean of Students- erect A-frame exhibits in approved locations,               Facilities Services at the expense of the person or organization
    subject to the rules in this Subchapter and the general rules in                  sponsoring the exhibit.
    Subchapter 13-200, Subchapter 13-300, and Subchapter 13-1000.              b. A-frame exhibits.
                                                                                   1. Each A-frame exhibit may be placed for up to fourteen
Sec. 13–702. Application Process                                                      consecutive days and remain overnight. The A-frame exhibit may
Requests for approval of, or reservation of space for, outdoor general                be renewed for an additional fourteen consecutive days if space
exhibits and A-frame exhibit may be submitted via the Hornslink.org                   is available.
Public Reservation Form.                                                           2. If an A-frame exhibit is left on campus without permission,
                                                                                      including outside the permit period, the exhibit may be removed
Sec. 13–703. Approval Process
                                                                                      by the Department of Facilities Services, at the expense of the
a. General exhibits.                                                                  person or organization sponsoring the exhibit.
    1. The dean of students will designate temporary outdoor exhibit
       spaces where academic or administrative units, registered or
       sponsored student organizations, and registered faculty or
       staff organizations may place general exhibits upon approval


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Sec. 13–705. Exhibit Cleanup                                                      c. Battle Oaks Ampliﬁed Sound Area.
The person or organization sponsoring an exhibit will remove the exhibit              1. The Battle Oaks Ampliﬁed Sound Area is the area bounded
and any litter from the area around the exhibit before vacating the space.               by the north wall of Hogg Auditorium, by an extension
                                                                                         drawn northward from the east wall of the Texas Union, by
Sec. 13–706. Liability                                                                   the south edge of the sidewalk on the south side of 24th
The person or organization sponsoring an exhibit assumes full                            Street, and by the west edge of the sidewalk on the west
responsibility for the exhibit, including all injuries or hazards that may               side of Inner Campus Drive.
arise from the exhibit. The University will not be liable for any damage              2. University persons, University organizations, and members
that may occur to the exhibit, and the person or organization sponsoring                 of the public may use ampliﬁed sound in this area from 8:00
the exhibit will indemnify the University for any claims arising from the                am to 5:00 pm on weekdays.
exhibit’s presence on campus.                                                     d. Mustangs Ampliﬁed Sound Area.
                                                                                     1. The Mustangs Ampliﬁed Sound Area is the area bounded
Subchapter 13–800. Amplified Sound                                                      by the sidewalk on the east side of San Jacinto Boulevard,
Sec. 13–801. General Rule on Amplified Sound                                            by the west wall of the Texas Memorial Museum, and by the
                                                                                        outer edge of the two stairways on either side of the lawn.
Registered or sponsored student organizations, registered faculty or
staff organizations, and members of the public may use ampliﬁed                       2. University persons, University organizations, and members
sound on campus at designated times and locations, subject to the                        of the public may use ampliﬁed sound in this area from 8:00
rules in this Subchapter and to the general rules in Subchapter 13–200                   am to 5:00 pm on weekdays.
and Subchapter 13–300. Advance permission is required. Academic                   e. San Jacinto Street Ampliﬁed Sound Area.
and administrative units need not obtain permission from the Dean                     1. The San Jacinto Street Ampliﬁed Sound Area is the area
of Students to use ampliﬁed sound in areas under their control, but                      bounded by the south wall of the Art Building, by the east
should provide advance notice to the Dean of Students when feasible                      edge of the sidewalk on the east side of San Jacinto
so that the Dean of Students can coordinate timing and help units avoid                  Boulevard, by the north edge of the sidewalk on the north
conflicts. The following unit-controlled areas are sufﬁciently isolated                  side of 23rd Street, and by the west edge of the sidewalk on
that coordination by the Dean of Students is unnecessary: the Blanton                    the west side of Trinity Avenue.
Museum of Art Courtyard; the McCombs School of Business South                         2. University persons, University organizations, and members
Plaza; the Walter Cronkite Plaza at the Jesse H. Jones Communication                     of the public may use ampliﬁed sound in this area from 8:00
Center; and the Whitis Court Courtyard.                                                  am to 5:00 pm on weekdays.
                                                                                   f. LBJ Fountain Ampliﬁed Sound Area.
This Subchapter creates limited exceptions to the general rule on
                                                                                       1. The LBJ Fountain Ampliﬁed Sound Area is the area
disruption in Section 13–301. An Ampliﬁed Sound Areas Map may be
                                                                                          bounded by the east edge of Robert Dedman Drive, by the
found here.
                                                                                          ﬁrst sidewalk north of the LBJ Fountain, by a line drawn
Sec. 13–802. Location and Times of Weekday Amplified                                      tangent to the west side of the LBJ Fountain and parallel
Sound Areas                                                                               to Robert Dedman Drive, and by the base of the hill on the
                                                                                          south side of the LBJ Fountain.
      a. West Mall Ampliﬁed Sound Area.
         1. The West Mall Ampliﬁed Sound Area is the extreme east                     2. University persons, University organizations, and members
            end of the West Mall, adjacent to the west steps of the                      of the public may use ampliﬁed sound in this area from 8:00
            Main Building.                                                               am to 5:00 pm on weekdays.
          2. University persons, University organizations, and members            g. 2609 University Avenue Courtyard Ampliﬁed Sound Area.
             of the public may use ampliﬁed sound in this area from                   1. The 2609 University Avenue Courtyard Ampliﬁed Sound
             11:30 am to 1:30 pm on weekdays.                                            Area is the area bounded by the 2609 University Avenue
          3. All academic and administrative units, as well as, registered               Building on the north, south and east sides, and by the east
                                                                                         edge of the sidewalk on the east side of University Avenue.
             and sponsored student organizations, and faculty and
             staff organizations may use sound equipment owned or                     2. University persons, University organizations, and members
             controlled by the dean of students’ ofﬁce for this sound                    of the public may use ampliﬁed sound in this area from 8:00
             area.                                                                       am to 5:00 pm on weekdays.
          4. Members of the public must use their own sound                       h. Creekside Residence Hall Lawn Ampliﬁed Sound Area.
             equipment. This sound area requires a reduced decibel level              1. The Creekside Residence Hall Lawn Ampliﬁed Sound Area
             as compared to other sound areas to ensure educational                      is the area bounded by Dean Keeton Street on the north,
             activity in close proximity is not disturbed.                               by Waller Creek on the east and south, and by San Jacinto
                                                                                         Boulevard on the west and south.
          5. Per Section 61.004 of the Texas Elections Code, groups
             making a political speech, or electioneering for or against              2. University persons, University organizations, and members
             any candidate, measure, or political party may not use                      of the public may use ampliﬁed sound in this area from 8:00
             ampliﬁed sound on the West Mall or anywhere within 1000                     am to 5:00 pm on weekdays.
             feet of a polling place when the polling place is open.
                                                                             Sec. 13–803. Regulation and Scheduling of Weekday
      b. Winship Circle Ampliﬁed Sound Area.
                                                                             Amplified Sound
         1. The Winship Circle Ampliﬁed Sound Area is the grassy area
                                                                             a. The dean of students may prescribe rules concerning scheduling,
            east of the East Mall Fountain, west of Waller Creek, and
                                                                                sound levels, the location of speakers and the direction in which they
            south of Winship Hall.
                                                                                are pointed, and other rules to facilitate the use of weekday ampliﬁed
          2. University persons, University organizations, and members
                                                                                sound areas, to mediate any conflict with University functions and
             of the public may use ampliﬁed sound in this area from 8:00
                                                                                other nearby activities, and to manage environmental impact. All
             am to 5:00 pm on weekdays.
                                                                                such rules will be reasonable and nondiscriminatory.


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b. Reservations.                                                                c. The dean of students may prescribe reasonable and
    1. University persons, University organizations, and members of                nondiscriminatory rules concerning scheduling, sound levels, the
       the public wishing to use a weekday ampliﬁed sound area must                location of speakers and the direction in which they are pointed, and
       reserve a particular area at a particular time. Reservations by             other rules to facilitate the use of ampliﬁed sound on evenings and
       University persons and University organizations must be made                weekends, to mediate any conflict with University functions and
       with the dean of students on a form prescribed by the dean of               other nearby activities, and to manage environmental impact.
       students. Members of the public may reserve space by making              d. Use of ampliﬁed sound on evenings and weekends requires advance
       a request on the Hornslink.org Public Reservation Form. The                 permission from the dean of students. Reservations by University
       Dean of Students will approve a properly completed application              persons and University organizations must be made with the
       to reserve an ampliﬁed sound area, unless the application or                dean of students on a form prescribed by the dean of students.
       request must be disapproved under the criteria in Section 10–               Members of the public may reserve space by making a request on
       203 of the Institutional Rules or under rules promulgated by the            the Hornslink.org Public Reservation Form. The Dean of Students will
       dean of students under the authority of this Section.                       authorize ampliﬁed sound as described in a completed application
    2. The dean of students may limit the number or frequency of                   unless the Dean of Students ﬁnds that the application or request
       reservations for each applicant to ensure reasonable access for             must be disapproved under the criteria in Section 10–203 of
       all persons and organizations desiring to use ampliﬁed sound on             the Institutional Rules or under rules promulgated by the dean of
       weekdays.                                                                   students under the authority of this Section. The Dean of Students
    3. When ampliﬁed sound areas are not reserved for use for an                   will advise each applicant or requestor how to correct, if possible, any
       assembly including ampliﬁed sound, they are available, without              conditions that preclude approval of its application.
       reservation, for permitted expressive activities that do not involve
                                                                               Sec. 13–805. Amplified Sound Indoors
       ampliﬁed sound. Such as-available expressive use does not
       permit a person to use ampliﬁed sound without a reservation.            University persons and University organizations may use ampliﬁed
       Any person or organization using or occupying the space without         sound indoors. Ampliﬁed sound sufﬁcient to be heard throughout the
       a reservation must yield control of the space in time to permit         room may be used in any room in any building, but the dean of students
       any user with a reservation to begin using the space promptly at        may limit or prohibit sound that would be disruptive outside the room.
       the beginning of the reserved time                                      Reservations may be required. Rules concerning use of University
                                                                               buildings are contained in Chapter 10 of the Institutional Rules.
c. Ampliﬁed sound in the West Mall Sound Area is in fact disruptive of
   teaching, administration, and research in the Main Building, in the
   Flawn Academic Center, in Goldsmith Hall, in the West Mall Ofﬁce
                                                                               Subchapter 13–900. Public Assemblies
   Building, and in Battle Hall. Ampliﬁed sound in the Winship Circle          Sec. 13–901. General Rule on Public Assemblies
   Ampliﬁed Sound Area is in fact disruptive of teaching, administration,       a. “Publicly assemble” and “public assembly” include any gathering
   research and performance in College of Liberal Arts Building, the               of persons, including discussions, rallies, and demonstrations. The
   Laboratory Theatre and Winship Hall. The disruption inherent in                 rules in Subchapter 13–800 apply to any use of ampliﬁed sound at a
   this use of ampliﬁed sound is expressly authorized, but no other                public assembly.
   disruption is authorized. Disruption is permitted to this extent             b. Persons and organizations may publicly assemble on campus in any
   because otherwise, it would be necessary to ban all use of ampliﬁed             place where, at the time of the assembly, the persons assembling are
   sound in and near the center of campus during working hours.                    permitted to be. This right to assemble is subject to the rules in this
d. University persons, University organizations, and members of the                Chapter and to the rules on use of University property in Chapter 10
   public using ampliﬁed sound are responsible for maintaining a                   of the Institutional Rules. No advance permission is required in the
   passageway for pedestrians that is adequate to the volume of                    common outdoor areas.
   pedestrian trafﬁc passing through the area. Should the size of
   the assembly exceed the maximum number of participants that is              Sec. 13–902. Reservation of Space
   safe for a given location, participants will be directed by campus           a. Common outdoor areas reservations.
   authorities to relocate to a space that is better suited to the size of          1. University persons, University organizations, and members of the
   the assembly.                                                                       public may reserve a space to assemble in the common outdoor
e. The ampliﬁed sound locations are maintained on the Ampliﬁed                         areas, as deﬁned by this Chapter. This is in addition to the
   Sound Areas Map. Any designations of additional areas, any                          ampliﬁed sound areas which are also available for reservation.
   additional rules regulating the designated areas, and the rules and              2. Reservations by University persons and University organizations
   procedures for reserving the use of a designated area, will be clearly              must be made with the dean of students on a form prescribed by
   stated on a website.                                                                the dean of students. Members of the public may reserve space
                                                                                       by making a request on the Hornslink.org Public Reservation
Sec. 13–804. Amplified Sound on Evenings and Weekends                                  Form. Applications and requests for a reservation for such
a. With advance permission, University persons, University                             assemblies will be approved pursuant to Subchapter 10–200 of
   organizations, and members of the public may use ampliﬁed sound                     the Institutional Rules.
   in any location in the common outdoor areas of campus, including                 3. If the expected attendance at an assembly is twenty-ﬁve or
   the weekday ampliﬁed sound areas designated in Section 13–802,                      more people, advance notice of no less than two weeks is
   after 5:00 pm on weekdays, and after 8:00 am on weekends, except                    recommended. Persons and organizations are encouraged to
   for the early morning hours excluded in Subsection 13–804(b).                       seek a reservation of a space that is suited to their assembly’s
b. If ampliﬁed sound is authorized for an event on a Sunday, Monday,                   anticipated size.
   Tuesday, Wednesday, or Thursday evening, the sound must be turned            b. Limited public forum areas reservations.
   off by midnight on the following day. If ampliﬁed sound is authorized            1. Registered student, sponsored student, registered faculty, or staff
   for an event on a Friday or Saturday evening, the sound must be                     organizations and academic or administrative units may reserve
   turned off by 1:00 am on the following day.



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        a space to assemble in permitted limited public forum areas, as        f. Registered student, sponsored student, registered faculty, and staff
        deﬁned by this Chapter.                                                   organizations are afforded privileges not available to individual
     2. The dean of students will receive applications for reservations           faculty, staff, and students. Individuals may not reserve indoor space
        of a space within the limited public forum areas. Applications            on campus.
        for a reservation for such assemblies will be processed under
        the provisions in Subchapter 10–202 of the Institutional Rules.       Subchapter 13–1000. Guest Speakers
        Individual faculty, staff, and students may not reserve space         Sec. 13–1001. Definitions
        under the provisions in Chapter 10.                                   “Guest speaker” means a speaker or performer who is not a student,
     3. If the expected attendance at an event with a guest speaker is        faculty member, or staff member.
        twenty-ﬁve or more people, advance notice of no less than two
        weeks is required.                                                    Sec. 13–1002. Who May Present
c. Any person or organization with a reservation has the right to the          a. Subject to the rules in this Chapter, University persons, University
   reserved room or space for the time covered by the reservation. Any            organizations, and members of the public may present guest
   person or organization using or occupying the room or space without            speakers in common outdoor areas of the campus.
   a reservation must yield control of the room or space in time to           b. Registered student, sponsored student, registered faculty, and staff
   permit any user with a reservation to begin using the room or space           organizations and academic or administrative units may present
   promptly at the beginning of its reserved time.                               guest speakers in the limited public forums of the campus. In the
d. Should the size of any assembly exceed the maximum number of                  case of registered student organizations and sponsored student
   participants that is safe for a given location, including a reserved          organizations, advance permission from the dean of students is
   space, assembly participants will be directed by campus authorities           required. Registered faculty organizations are required to seek
   to relocate to a space that is better suited to the size of the assembly      advance permission from the executive vice president and provost.
   to the extent relocation is practicable.                                      Registered staff organizations are required to seek advance
e. While reservations are not always required, they are strongly                 permission from the senior vice president and chief operating
   encouraged. Without a reservation, a person or organization may               ofﬁcer. Individuals may not present a guest speaker in University
   ﬁnd the facility locked or the space in use by another person or              buildings or University facilities.
   organization.
                                                                              Sec. 13–1003. Location and Form of Presentation
 f. In some buildings, public assemblies unrelated to the purpose of
                                                                               a. Subject to the rules in this Chapter, including the applicable time,
    the building may be prohibited completely. To avoid disruption of
                                                                                  place, and manner rules, University persons, University organizations,
    University operations, the Main Building may not be used for such
                                                                                  and members of the public may utilize the common outdoor areas
    public assembly at any time.
                                                                                  for guest speaker assemblies. No reservation or prior approval
Sec. 13–903. Notice and Consultation                                              is necessary, but notice and reservations are encouraged for
                                                                                  assemblies of twenty-ﬁve or more people.
a. Persons or organizations may publicly assemble on campus in any
   place where, at the time of the assembly, the persons assembling are       b. A guest speaker may present a speech or performance, or lead a
   permitted to be.                                                              discussion of speciﬁed duration, at a time announced in advance, in
                                                                                 a ﬁxed indoor location approved by the dean of students.
b. Persons or organizations that are planning a public assembly in a
                                                                                  1. A guest speaker may distribute literature indoors only
   common outdoor area with or without a guest speaker and expected
                                                                                     immediately before, during, and immediately after the normal
   attendance of more than twenty-ﬁve participants, including potential
                                                                                     course of his or her speech, presentation, or performance, and
   counter-demonstrators, are encouraged to provide advance notice of
                                                                                     only to persons in attendance. Only literature that complies with
   no less than two weeks to the dean of students to help the University
                                                                                     Subchapter 13–400 may be distributed.
   improve the safety and success of the expressive activity. Members
   of the public may provide this notice by submitted a description                2. Student, faculty, and staff organizations may not invite the public
   of the planned event using the Hornslink.org Public Reservation                    at large to events in University buildings or facilities.
   Form. If there is uncertainty about applicable University rules, the
                                                                               c. A guest speaker may not
   appropriateness of the planned location, or possible conflict with
                                                                                   1. accost potential listeners who have not chosen to attend the
   other events, persons and organizations are encouraged to consult
                                                                                      speech, performance, or discussion; or
   the dean of students. Should the size of the assembly exceed the
   maximum number of participants that is safe for a given location,               2. help staff a table or exhibit set up outside of the common
   participants will be directed by campus authorities to relocate to a               outdoor areas or in the University buildings or facilities.
   space that is better suited to the size of the assembly.                   d. No University person, University organization, or member of the
c. University persons or organizations planning an event in the limited          public may present a guest speaker in violation of the prohibitions
   public forum areas with or without a guest speaker and an expected            against solicitation in Section 13–205 or cosponsorship in Chapter
   attendance of more than twenty-ﬁve participants, are required to              10, Section 13–304 of the Institutional Rules.
   provide advanced notice of no less than two weeks to the dean of
                                                                              Sec. 13–1004. Application for University Building or Facility
   students to help the University improve the safety and success of the
                                                                              Space for Presentation of Guest Speakers
   expressive activity. Notice will be provided on a form prescribed by
   the dean of students.                                                      In accordance with Regents’ Rules and Regulations, Rule 40501, Section
                                                                              3.5, all registered students, sponsored students, registered faculty, and
d. The notice and consultation requirements of this Subchapter do not
                                                                              staff organizations that wish to present a guest speaker in a University
   apply to academic or administrative units.
                                                                              building or facility space will apply through a prescribed process, at least
e. The University persons and University organizations notice and
                                                                              two weeks before the scheduled event or any planned advertising for the
   consultation requirements of this Subchapter may be waived by the
                                                                              event, whichever is earlier.
   dean of students or his or her designee.




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1. A registered or sponsored student organization that wishes to                  literature, and public assembly without ampliﬁed sound, may be used
   present a guest speaker will apply to the dean of students, through            immediately and in any location authorized in this Chapter.
   a process prescribed by the dean of students, at least two weeks
   before the scheduled event or any planned advertising for the               c. Means of response that require advance permission or reservation,
   event, whichever is earlier. The application will be combined with             such as temporary banners, A-frames exhibits, general exhibits, and
   an application under Section 10–202 of the Institutional Rules to              ampliﬁed sound, may be used as soon as the needed permission or
   reserve the use of a University room or space for the event. The               reservation may be arranged. Temporary banner space, temporary
   dean of students will approve an application properly made under               outdoor exhibit space, and some ampliﬁed sound areas may be
   Subsection 13–1004(a) unless it must be disapproved under the                  unavailable on short notice because of earlier reservations, but
   criteria in Chapter 10, Section 10–203 of the Institutional Rules.             the Dean of Students will, where feasible, expedite approval of
                                                                                  available temporary banner spaces, available temporary outdoor
2. A registered faculty organization that wishes to present a guest               exhibit spaces, and ampliﬁed sound areas where necessary to permit
   speaker will apply to the executive vice president and provost                 appropriate response to other speech, assembly, or expression.
   through a process prescribed by the executive vice president
   and provost, at least two weeks before the scheduled event or               d. Means of response that are conﬁned to authorized locations, such
   any planned advertising for the event, whichever is earlier. The               as banners, exhibits, and ampliﬁed sound, may be used only in those
   application will be combined with an application under Chapter                 locations. It is not possible to respond to ampliﬁed sound with
   10, Section 10–202 of the Institutional Rules to reserve the use               ampliﬁed sound in the same location; similarly, if an exhibit or public
   of a University room or space for the event. The executive vice                assembly is in a location where ampliﬁed sound is not permitted, it
   president and provost will approve an application properly made                is not possible to respond with ampliﬁed sound in that location. In
   under Subsection 13–1004(a) in consultation with the dean of                   either case, it is possible to respond with ampliﬁed sound in another
   students unless it must be disapproved under the criteria in Chapter           location and to use signs or distribution of literature to advertise the
   10, Section 10–203 of the Institutional Rules.                                 response at the other location.

3. A registered staff organization that wishes to present a guest
                                                                              Subchapter 13–1200. Enforcement and Appeals
   speaker will apply to the senior vice president and chief ﬁnancial
   ofﬁcer through a process prescribed by the senior vice president           Sec. 13–1201. Police Protection
   and chief ﬁnancial ofﬁcer, at least two weeks before the scheduled          a. It is the responsibility of the University to protect the safety of all
   event or any planned advertising for the event, whichever is earlier.          persons on campus and to provide police protection for speakers,
   The application will be combined with an application under Chapter             public assemblies, persons stafﬁng or viewing exhibits, and other
   10, Section 10–202 of the Institutional Rules to reserve the use of            events. The normal patrolling of ofﬁcers during regular duty areas
   a University room or space for the event. The senior vice president            in the area of such events will be at the cost of the University. When
   and chief operating ofﬁcer will approve an application properly                the magnitude, timing, or nature of an event in a University building,
   made under Subsection 13–1004(a) in consultation with the dean of              University facility, or other area of the University’s limited public
   students unless it must be disapproved under the criteria in Chapter           forum that requires overtime hours from police ofﬁcers (including
   10, Section 10–203 of the Institutional Rules.                                 contract hours for ofﬁcers hired from other departments or private
                                                                                  security agencies), the University will, to the extent speciﬁed in
Sec. 13–1005. Obligations of Presenting Organization                              Subsection 13–1201(b) and Subsection 13–1201(c), charge the
                                                                                  cost of overtime or contract ofﬁcers to the person or organization
A University person or registered student organization or registered
                                                                                  sponsoring the event or exhibit that requires overtime police
faculty or staff organization that presents a guest speaker in a University
                                                                                  protection. The purpose of Subsection 13–1201(b) and Subsection
building or facility must make clear that:
                                                                                  13–1201(c) is to charge for police overtime where reasonably
a. the organization, and not the University, invited the speaker;                 possible, but not to charge for police overtime made necessary by
                                                                                  the content of speech at the event or by the controversy associated
b. the views expressed by the speaker are his or her own and do not               with any event.
   necessarily represent the views of the University, The University of        b. University persons or organizations planning such events should
   Texas System, or any System institution; and                                   budget for the cost of police protection. A reasonable and
                                                                                  nondiscriminatory fee for overtime police work will be charged to the
 c. members of the general public are not invited to attend the guest
                                                                                  registered student, sponsored student, faculty, or staff organization
    speaker's presentation with the exception of presentations put on by
                                                                                  for events in a University building, University facility, or other area
    academic or administrative units.
                                                                                  of the University’s limited public forum that require overtime police
                                                                                  protection, and
Subchapter 13–1100. Responding to Speech,                                          1. charge a price for admission; or
Expression, and Assembly                                                           2. have a paid speaker, band, or other off-campus person or
Sec. 13–1101. General Rule on Responding                                              organization for services at the event.
                                                                               c. The University will have the sole power to decide, after reasonable
Persons and organizations may respond to the speech, expression, or
                                                                                  consultation with the person or organization planning the event,
assembly of others, subject to all the rules in this Chapter.
                                                                                  whether and to what extent overtime police protection is required.
Sec. 13–1102. Applications of Section                                             No fee will be charged for ofﬁcers assigned because of political,
                                                                                  religious, philosophical, ideological, or academic controversy
a. Responders may not damage or deface signs or exhibits, disrupt
                                                                                  anticipated or actually experienced at the event. All fees will be
   public assemblies, block the view of participants, or prevent speakers
                                                                                  based on the number of ofﬁcers required for an uncontroversial event
   from being heard.
                                                                                  of the same size and kind, in the same place and at the same time of
b. Means of response that are permitted in many locations and without             day, handling the same amount of cash.
   advance permission or reservation, such as signs, distribution of


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d. Nothing in this Section applies to any interdepartmental charge or
   transfer among units or accounts funded by the University.

Sec. 13–1202. Response to Violations
a. Students wishing to make a grievance regarding a violation
   of Texas Education Code § 51.9315 may report it via the
   University compliance and ethics hotline by emailing
   compliance@austin.utexas.edu.
b. A student who violates a prohibition in this Chapter may be
   disciplined under the procedures in Chapter 11 of the Institutional
   Rules. A registered student or sponsored student organization that
   violates a prohibition in this Chapter may be disciplined under the
   procedures in Chapter 6 of the Institutional Rules.
c. A faculty member who violates a prohibition in this Chapter may be
   disciplined under applicable procedures provided by other rules. If no
   such procedures exist, violations by faculty members will be referred
   to the Ofﬁce of the Executive Vice President and Provost.
d. A staff member who violates a prohibition in this Chapter may be
   disciplined under applicable procedures provided by other rules. If no
   such procedures exist, violations by staff members will be referred to
   Human Resource Services.
e. Authorized University personnel may prevent imminently threatened
   violations, or end ongoing violations, of a prohibition in this Chapter,
   by explanation and persuasion, by reasonable physical intervention,
   by arrest of violators, or by any other lawful measures. Alternatively
   or additionally, they may initiate disciplinary proceedings under
   Subsection 13–1202(a), Subsection 13–1202(b), or Subsection
   13–1202(c). Discretion regarding the means and necessity of
   enforcement will be vested in the chief of police, or in University
   personnel designated by the president, as appropriate, but such
   discretion will be exercised without regard to the viewpoint of any
   speaker.
 f. University persons and University organizations on the campus will
    comply with instructions from University administrators and law
    enforcement ofﬁcials at the scene. A University person or University
    organization that complies with an on-the-scene order limiting
    speech, expression, or assembly may test the propriety of that order
    in an appeal under Section 13–1203.
g. Off-campus person(s) or organization(s) on the campus who violate
   a prohibition in this Chapter may be subject to criminal trespass
   charges, arrest, or other lawful measures.

Sec. 13–1203. Appeals
a. A person or organization that is denied permission for an activity
   requiring advance permission under this Chapter may appeal the
   denial of permission.
b. A University person or organization that complies with an on-the-
   scene order limiting speech, expression, or assembly may, on or
   before the ﬁfth business day after complying with the order, ﬁle an
   appeal to determine the propriety of the order limiting the speech,
   expression, or assembly. The question on appeal will be whether,
   under the circumstances as they reasonably appeared at the time
   of the order, the appellant’s speech, expression, or assembly should
   have been permitted to continue. Such an appeal may be useful to
   clarify the meaning of a rule, or to resolve a factual dispute that may
   recur if the appellant desires to resume the speech, expression, or
   assembly that was limited by the order.
c. An appeal authorized by this Section will be heard under the
   procedures set out in Subchapter 10–400 of the Institutional Rules.

 Updated August 2023 to reflect policy changes effective August 21,
 2023.




12   Chapter 13. Speech, Expression, and Assembly 07/08/24
Case 1:24-cv-00523-RP Document 32-6 Filed 08/19/24 Page 43 of 85




                                EXHIBIT B
           Letter from UT Austin Office of the Dean of Students to PSC
         Case 1:24-cv-00523-RP Document 32-6 Filed 08/19/24 Page 44 of 85




Jenna Homsi
Palestine Solidarity Committee
homsijenna@gmail.com
                                                                                                April 15, 2024


Dear Jenna,

On April 2, 2024, the Office of the Dean of Students received information regarding a possible violation
of the following Institutional Rule(s) by the Palestinian Solidarity Committee registered student
organization:
     • 11-402(a)(18)(a) – Disruptive Conduct: “Engages in conduct that interferes with or disrupts any
         teaching, research, administrative, disciplinary, public service, learning, or other authorized
         activity.”
     • 11-402(a)(19)(a) – Failure to Comply: “Failure to comply with the directions of any university
         official(s) acting in the performance of their duties.”

After reviewing the documentation and conducting a preliminary investigation, our office has determined
that the organization will not be found in violation of the Institutional Rules at this time.

This message should serve as a notice of the potential risk of failing to comply with directives of
university officials, and disrupting authorized activities. It is important to be knowledgeable of the
university’s expectations, as detailed in Institutional Rules Section 6-404 (Prohibited Conduct of Student
Organizations), and to understand the risks associated with engaging in prohibited conduct. The
responsibility to uphold the Institutional Rules at The University of Texas at Austin, is yours.

The Office of the Dean of Students staff is available to assist your organization in planning future events
or demonstrations and can provide support to ensure your event can take place successfully without
causing a disruption to authorized activities.

In accordance with Sec. 9-301(a) of the Institutional Rules, and per the university’s record retention
policy, all documents pertaining to this matter will be maintained in the official university file for the
organization and will be relied upon should additional allegations of misconduct arise.

If you have any questions, please feel free to contact our office at 512-471-5017 or
deanofstudents@austin.utexas.edu.

Sincerely,




 Dr. Aaron Voyles, Executive Director             Melissa Jones-Wommack, Acting Executive Director
 Student Involvement                              Student Conduct and Academic Integrity
 Office of the Dean of Students                   Office of the Dean of Students
Case 1:24-cv-00523-RP Document 32-6 Filed 08/19/24 Page 45 of 85




                               EXHIBIT C
          Austin Chronicle Interview with PSC Leader Ammer Qaddumi
Case 1:24-cv-00523-RP Document 32-6 Filed 08/19/24 Page 46 of 85
   Case 1:24-cv-00523-RP Document 32-6 Filed 08/19/24 Page 47 of 85




                                       EXHIBIT D
            PSC Disruption of December 6, 2023 Speaking Event Featuring Bari Weiss
This exhibit constitutes a video recording, a copy of which has been delivered to the Court.
Case 1:24-cv-00523-RP Document 32-6 Filed 08/19/24 Page 48 of 85




                                  EXHIBIT E
KXAN Story Quoting PSC Leader Ammer Qaddumi regarding Disruption of Speaking Event
8/6/24, 9:54 AM         Case 1:24-cv-00523-RP         Document
                                   UT Austin says pro-Palestinian      32-6'crossed
                                                                  protesters   Filedthe 08/19/24         Page 49I of
                                                                                        line,' launches investigation   85Austin
                                                                                                                      KXAN

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                       BREAKING NEWS
                       Vice President Harris has chosen Minnesota Gov. Tim Walz to be her running mate




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                      AUSTIN

                      UT Austin says pro-Palestinian protesters 'crossed the line; launches investigation
                      by: Jala Washingt2n
                      Posted: Dec 13, 2023 / 11:12 AM CST
                      Updated: Dec 14, 2023 / 11:03 AM CST

                      SHARE     O •         0      i,?,/j


                      AUSTIN (KXAN) - There's an active investigation at The University ofTexas at Austin looking into protesters who "crossed the line;' according to a
                      statement UT posted on X Wednesday morning.



                        Protesters crossed the line of occeptable behavior and violated University rules multiple times last week. We will not tolerate
                        disruptions to the teaching and research activities of our students, faculty, and staff; our campus; or events. We are investigating
                        and will punish those found to violate our rules, policies, or the law. Actions taken toward a University leader on Friday stem from
                        intentionally false narratives and a coordinated disinformation campaign. We will protect speech, but we will not tolerate
                        harassment, disruption, and dishonesty.

                          - UNIVERSITY OF TEXAS AT AUSTIN



                      A staged walkout and protests

                      According to UT student organization Palestinian Solidarity Committee, on Wednesday, Dec. 6, a variety of students staged a walkout from an
                      auditorium at the start of a speaker's presentation .

                      The students said they felt the university inviting the speaker to campus was tone-deaf as the lsrael-Hamas war intensified. They added they felt
                      the speaker wasn't supportive of Palestinians.




https://www.kxan.com/news/local/austin/ut-austin-says-pro-palestinian-protesters-crossed-the-line-launches-investigation/                                                                   1/11
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                                   UT Austin says pro-Palestinian      32-6'crossed
                                                                  protesters   Filedthe 08/19/24         Page 50I of
                                                                                        line,' launches investigation   85Austin
                                                                                                                      KXAN




                      Pro-Palestinian students stage a wa1kout during speaker presentation.


                      " We stood up and started chanting and police escorted us out;' Ammer Qaddumi with the Palestinian Solidarity Committee said . "We left
                      without incident."


                      On Friday, Dec 8, a small group of students entered a private office on campus to speak to a university official about Palestinian students'
                      concerns on campus, according to Qaddumi.

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                      Later that day, there was a protest involving many organizations. The students spoke out about two UT teaching assistants who lost their
                      positions after putting out mental health resources for Palestinian, Arab and Muslim students about Palestine toward the beginning of the lsrael-
                      Hamas war.


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                       Two UT teaching assistants lose their positions after message about Palestine >

                      The teaching assistants who were let go from their positions provided a statement regarding the latest incidents. One of the former TAs said in
                      part:




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                                      UT Austin says pro-Palestinian      32-6'crossed
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                                                                                           line,' launches investigation   85Austin
                                                                                                                         KXAN
                            • PARHAM DAGmGID, FORMER TEACHING ASSISTANT




                     Pro-Palestinian students protest removal of teaching assistants (Photo Courtesy: fffiana Figueroa)

                    1/ 6

                       UT policies and student code of conduct

                       UT said students coerced the attention of a crowd. An official described this as causing such a disruption the audience had no choice but to give
                       its attention . UT told KXAN students also wore masks to conceal their identity, protested inside, entered a private office space and prevented an
                       official from exiting that space.


                       " If a speaker tries to force someone to listen to them, against their will. .. that's a violation ofThe University ofTexas' institutional rules of
                       student conduct," Attorney Scott Hendler said.


                       UT has rules for Student Conduct and Academic Integrity and Speech, Expression, and Assembly detailed on its website, outlining what students
                       must follow on campus.


                                                                                                                   ADVERTISEMENT




                       "Chapter 13, addresses certain speech that's permitted and not permitted," Hendler said. "And the university has decided to also recognize a
                       listener's right to not hear speech . .. which is kind of a new twist on free speech. I haven't heard about this elsewhere [in the country].


                       According to a spokesperson, the code of conduct was updated in 2019.

                       Hendler said there's a grey area when it comes to what is considered forcing someone to listen to what you're saying. He said he expects this
                       situation with UT students could end up in court.

                       Palestinian students feeling unsupported by UT Austin

                       Since the Israel-Ha mas war started, UT has put out two statements about the impact on students on Oct. 13 and Oct. 17.

                                                                                                       CONTENT CONTINUES BELOW SURVEY



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                                     UT Austin says pro-Palestinian      32-6'crossed
                                                                    protesters   Filedthe 08/19/24         Page 52I of
                                                                                          line,' launches investigation   85Austin
                                                                                                                        KXAN
                      "[They] just walked onto campus, threatened and harassed students and walked away completely scot-free," Adam with the Palestinian
                      Solidarity Committee said. "Yet, they are very quick to condemn their own students. It's very worth taking note of that . .. not once has the
                      university agreed to sit down and speak to Palestinian organizers to speak to Palestinian students to address the multiple instances of hate and
                      violence that have occurred on their campus.

                      Tensions remain high heading into next semester

                      " We strongly encourage the university to open like a public forum to this at the end of the day," Adam said.


                      Though the students did violate UT's policies, they said they wouldn't have done anything differently.


                                                                                                                                       ADVERTISEMENT




                      " There's nothing that we did wrong by protesting the university and their actions;• Adam said. "Had the university just spoken to us and
                      addressed our concerns over the course of an entire semester.. . there would be no need to protest."


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                            EXHIBIT F
                     NSJP Day of Resistance Toolkit
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                              EXHIBIT G
               NSJP Announces the Popular University for Gaza
Case 1:24-cv-00523-RP Document 32-6 Filed 08/19/24 Page 67 of 85
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                             EXHIBIT H
                 April 23, 2024 Cancellation Letter to PSC
            Case 1:24-cv-00523-RP Document 32-6 Filed 08/19/24 Page 69 of 85




    April 23, 2024

    Jenna Homsi
    Palestine Solidarity Committee
    homsijenna@gmail.com

    Re: Notice Cancelling Planned Event

    Dear Jenna,

    The University of Texas at Austin must first and foremost act to protect our educational mission,
    allowing the activities and operations that support our mission to proceed. At the same time, we
    are steadfast in our support of free speech. Our policies and rules help define the lines between
    these objectives and shape our response to planned protests.

    The Palestine Solidarity Committee student organization’s event “Popular University for Gaza,”
    which is planned for tomorrow, has declared intent to violate our policies and rules, and disrupt
    our campus operations.1 Such disruptions are never allowed and are especially damaging while
    our students prepare for the end of the semester and final exams. For these reasons, this event
    may not proceed as planned.

    Simply put, The University of Texas at Austin will not allow this campus to be “taken” and
    protesters to derail our mission in ways that groups affiliated with your national organization
    have accomplished elsewhere.

    Please be advised that you are not permitted to hold your event on the University campus.
    Any attempt to do so will subject your organization and its attending members to discipline
    including suspension under the Institutional Rules. Individuals not affiliated with the
    University and attempting to attend this event will be directed to leave campus. Refusal to
    comply may result in arrest.
1
 UT Austin registered student organization Palestine Solidarity Committee (“PSC”) Instagram post of April 21,
2024 (emphasis added).

      WE ARE ALL SJP! Our universities have chosen profit and reputation over the lives of the people of
      Palestine and our will as students. The supposed power of our administrators is nothing compared to the
      strength of the united students, staff, and faculty committed to realizing justice and upholding Palestinian
      liberation on campus. In the footsteps of our comrades at Rutgers-New Brunswick SJP, Tufts SJP, and
      Columbia SJP, we will take back our university and force our administration to divest, for the people of
      Gaza!

UT Austin registered student organization PSC Instagram post of April 23, 2024 (encouraging people to wear
face masks in violation of Chapter 13-105(a)(i) of the Institutional Rules).

      Reclaim our space on WED APR 24TH CLASS IS CANCELLED MEET AT GREG PLAZA MARCH
      TO OCCUPY THE LAWN BRING BLANKETS, FOOD, FACE MASKS, AND ENERGY
        Case 1:24-cv-00523-RP Document 32-6 Filed 08/19/24 Page 70 of 85




Our campus has a long history of peaceful student protests and free speech and expression. If
you are interested in organizing an event that adheres to our University policies and rules, we are
happy to connect you to a staff member that can answer your specific questions and assist you in
understanding what conduct is and is not permitted on our campus. However, whether you reach
out for such assistance or not, you are responsible for understanding the University’s
expectations for students and their organizations. Failing to comply with this notice will subject
you to student discipline. You, your organization, and its members will not receive an additional
warning.

In accordance with Sec. 9-301(a) of the Institutional Rules, and per the University’s record
retention policy, all documents pertaining to this matter will be maintained in the official
University file for the organization and will be relied upon should future allegations of
misconduct arise.

If you have any questions, please feel free to contact our office at 512-471-5017 or
deanofstudents@austin.utexas.edu.

Sincerely,




Dr. Aaron Voyles                                     Melissa Jones-Wommack
Executive Director Student Involvement               Acting Executive Director
Office of the Dean of Students                       Student Conduct and Academic Integrity
                                                     Office of the Dean of Students
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                               EXHIBIT I
                Cancellation Notice with Retrieval Information
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    April 24, 2024

    Palestine Solidarity Committee (PSC)

    Re: Notice Cancelling Planned Event

    Dear PSC Authorized Representative,

    The University of Texas at Austin must first and foremost act to protect our educational mission,
    allowing the activities and operations that support our mission to proceed. At the same time, we
    are steadfast in our support of free speech. Our policies and rules help define the lines between
    these objectives and shape our response to planned protests.

    The Palestine Solidarity Committee student organization’s event “Popular University for Gaza,”
    which is planned for tomorrow, has declared intent to violate our policies and rules, and disrupt
    our campus operations.1 Such disruptions are never allowed and are especially damaging while
    our students prepare for the end of the semester and final exams. For these reasons, this event
    may not proceed as planned.

    Simply put, The University of Texas at Austin will not allow this campus to be “taken” and
    protesters to derail our mission in ways that groups affiliated with your national organization
    have accomplished elsewhere.

    Please be advised that you are not permitted to hold your event on the University campus.
    Any attempt to do so will subject your organization and its attending members to discipline
    including suspension under the Institutional Rules. Individuals not affiliated with the
    University and attempting to attend this event will be directed to leave campus. Refusal to
    comply may result in arrest.

    Our campus has a long history of peaceful student protests and free speech and expression. If
1
 UT Austin registered student organization Palestine Solidarity Committee (“PSC”) Instagram post of April 21,
2024 (emphasis added).

      WE ARE ALL SJP! Our universities have chosen profit and reputation over the lives of the people of
      Palestine and our will as students. The supposed power of our administrators is nothing compared to the
      strength of the united students, staff, and faculty committed to realizing justice and upholding Palestinian
      liberation on campus. In the footsteps of our comrades at Rutgers-New Brunswick SJP, Tufts SJP, and
      Columbia SJP, we will take back our university and force our administration to divest, for the people of
      Gaza!

UT Austin registered student organization PSC Instagram post of April 23, 2024 (encouraging people to wear
face masks in violation of Chapter 13-105(a)(i) of the Institutional Rules).

      Reclaim our space on WED APR 24TH CLASS IS CANCELLED MEET AT GREG PLAZA MARCH
      TO OCCUPY THE LAWN BRING BLANKETS, FOOD, FACE MASKS, AND ENERGY
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you are interested in organizing an event that adheres to our University policies and rules, we are
happy to connect you to a staff member that can answer your specific questions and assist you in
understanding what conduct is and is not permitted on our campus. However, whether you reach
out for such assistance or not, you are responsible for understanding the University’s
expectations for students and their organizations. Failing to comply with this notice will subject
you to student discipline. You, your organization, and its members will not receive an additional
warning.

In accordance with Sec. 9-301(a) of the Institutional Rules, and per the University’s record
retention policy, all documents pertaining to this matter will be maintained in the official
University file for the organization and will be relied upon should future allegations of
misconduct arise.

If you have any questions, please feel free to contact our office at 512-471-5017 or
deanofstudents@austin.utexas.edu.

Sincerely,




Dr. Aaron Voyles                                     Melissa Jones-Wommack
Executive Director Student Involvement               Acting Executive Director
Office of the Dean of Students                       Student Conduct and Academic Integrity
                                                     Office of the Dean of Students
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April 24, 2024

Haya Saidi
Sent electronically to hayatexas@gmail.com

                                                         PERSONAL AND CONFIDENTIAL

Regarding Case Number: 2024124802


Dear Haya Saidi,

You are receiving this message in your role as an Authorized Representative of the Registered
Student Organization Palestine Solidarity Committee. Please review the attached
memorandum containing time sensitive information about the cancellation of the event planned
by your organization.

"Please be advised that you are not permitted to hold your event on the University
campus. Any attempt to do so will subject your organization and its attending members
to discipline including suspension under the Institutional Rules. Individuals not affiliated
with the University and attempting to attend this event will be directed to leave campus.
Refusal to comply may result in arrest."

Sincerely,

Office of the Dean of Students
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    April 24, 2024

    Palestine Solidarity Committee (PSC)

    Re: Notice Cancelling Planned Event

    Dear PSC Authorized Representative,

    The University of Texas at Austin must first and foremost act to protect our educational mission,
    allowing the activities and operations that support our mission to proceed. At the same time, we
    are steadfast in our support of free speech. Our policies and rules help define the lines between
    these objectives and shape our response to planned protests.

    The Palestine Solidarity Committee student organization’s event “Popular University for Gaza,”
    which is planned for tomorrow, has declared intent to violate our policies and rules, and disrupt
    our campus operations.1 Such disruptions are never allowed and are especially damaging while
    our students prepare for the end of the semester and final exams. For these reasons, this event
    may not proceed as planned.

    Simply put, The University of Texas at Austin will not allow this campus to be “taken” and
    protesters to derail our mission in ways that groups affiliated with your national organization
    have accomplished elsewhere.

    Please be advised that you are not permitted to hold your event on the University campus.
    Any attempt to do so will subject your organization and its attending members to discipline
    including suspension under the Institutional Rules. Individuals not affiliated with the
    University and attempting to attend this event will be directed to leave campus. Refusal to
    comply may result in arrest.

    Our campus has a long history of peaceful student protests and free speech and expression. If
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 UT Austin registered student organization Palestine Solidarity Committee (“PSC”) Instagram post of April 21,
2024 (emphasis added).

      WE ARE ALL SJP! Our universities have chosen profit and reputation over the lives of the people of
      Palestine and our will as students. The supposed power of our administrators is nothing compared to the
      strength of the united students, staff, and faculty committed to realizing justice and upholding Palestinian
      liberation on campus. In the footsteps of our comrades at Rutgers-New Brunswick SJP, Tufts SJP, and
      Columbia SJP, we will take back our university and force our administration to divest, for the people of
      Gaza!

UT Austin registered student organization PSC Instagram post of April 23, 2024 (encouraging people to wear
face masks in violation of Chapter 13-105(a)(i) of the Institutional Rules).

      Reclaim our space on WED APR 24TH CLASS IS CANCELLED MEET AT GREG PLAZA MARCH
      TO OCCUPY THE LAWN BRING BLANKETS, FOOD, FACE MASKS, AND ENERGY
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                                   you are interested in organizing an event that adheres to our University policies and rules, we are
                                   happy to connect you to a staff member that can answer your specific questions and assist you in
                                   understanding what conduct is and is not permitted on our campus. However, whether you reach
                                   out for such assistance or not, you are responsible for understanding the University’s
                                   expectations for students and their organizations. Failing to comply with this notice will subject
                                   you to student discipline. You, your organization, and its members will not receive an additional
                                   warning.

                                   In accordance with Sec. 9-301(a) of the Institutional Rules, and per the University’s record
                                   retention policy, all documents pertaining to this matter will be maintained in the official
                                   University file for the organization and will be relied upon should future allegations of
                                   misconduct arise.

                                   If you have any questions, please feel free to contact our office at 512-471-5017 or
                                   deanofstudents@austin.utexas.edu.

                                   Sincerely,




                                   Dr. Aaron Voyles                                     Melissa Jones-Wommack
                                   Executive Director Student Involvement               Acting Executive Director
                                   Office of the Dean of Students                       Student Conduct and Academic Integrity
                                                                                        Office of the Dean of Students




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April 24, 2024

Rawan Channaa
Sent electronically to rawan.channaa@utexas.edu

                                                         PERSONAL AND CONFIDENTIAL

Regarding Case Number: 2024124803


Dear Rawan Channaa,

You are receiving this message in your role as an Authorized Representative of the Registered
Student Organization Palestine Solidarity Committee. Please review the attached
memorandum containing time sensitive information about the cancellation of the event planned
by your organization.

"Please be advised that you are not permitted to hold your event on the University
campus. Any attempt to do so will subject your organization and its attending members
to discipline including suspension under the Institutional Rules. Individuals not affiliated
with the University and attempting to attend this event will be directed to leave campus.
Refusal to comply may result in arrest."Sincerely,Office of the Dean of Students

Sincerely,

Office of the Dean of Students
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    April 24, 2024

    Palestine Solidarity Committee (PSC)

    Re: Notice Cancelling Planned Event

    Dear PSC Authorized Representative,

    The University of Texas at Austin must first and foremost act to protect our educational mission,
    allowing the activities and operations that support our mission to proceed. At the same time, we
    are steadfast in our support of free speech. Our policies and rules help define the lines between
    these objectives and shape our response to planned protests.

    The Palestine Solidarity Committee student organization’s event “Popular University for Gaza,”
    which is planned for tomorrow, has declared intent to violate our policies and rules, and disrupt
    our campus operations.1 Such disruptions are never allowed and are especially damaging while
    our students prepare for the end of the semester and final exams. For these reasons, this event
    may not proceed as planned.

    Simply put, The University of Texas at Austin will not allow this campus to be “taken” and
    protesters to derail our mission in ways that groups affiliated with your national organization
    have accomplished elsewhere.

    Please be advised that you are not permitted to hold your event on the University campus.
    Any attempt to do so will subject your organization and its attending members to discipline
    including suspension under the Institutional Rules. Individuals not affiliated with the
    University and attempting to attend this event will be directed to leave campus. Refusal to
    comply may result in arrest.

    Our campus has a long history of peaceful student protests and free speech and expression. If
1
 UT Austin registered student organization Palestine Solidarity Committee (“PSC”) Instagram post of April 21,
2024 (emphasis added).

      WE ARE ALL SJP! Our universities have chosen profit and reputation over the lives of the people of
      Palestine and our will as students. The supposed power of our administrators is nothing compared to the
      strength of the united students, staff, and faculty committed to realizing justice and upholding Palestinian
      liberation on campus. In the footsteps of our comrades at Rutgers-New Brunswick SJP, Tufts SJP, and
      Columbia SJP, we will take back our university and force our administration to divest, for the people of
      Gaza!

UT Austin registered student organization PSC Instagram post of April 23, 2024 (encouraging people to wear
face masks in violation of Chapter 13-105(a)(i) of the Institutional Rules).

      Reclaim our space on WED APR 24TH CLASS IS CANCELLED MEET AT GREG PLAZA MARCH
      TO OCCUPY THE LAWN BRING BLANKETS, FOOD, FACE MASKS, AND ENERGY
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                                   you are interested in organizing an event that adheres to our University policies and rules, we are
                                   happy to connect you to a staff member that can answer your specific questions and assist you in
                                   understanding what conduct is and is not permitted on our campus. However, whether you reach
                                   out for such assistance or not, you are responsible for understanding the University’s
                                   expectations for students and their organizations. Failing to comply with this notice will subject
                                   you to student discipline. You, your organization, and its members will not receive an additional
                                   warning.

                                   In accordance with Sec. 9-301(a) of the Institutional Rules, and per the University’s record
                                   retention policy, all documents pertaining to this matter will be maintained in the official
                                   University file for the organization and will be relied upon should future allegations of
                                   misconduct arise.

                                   If you have any questions, please feel free to contact our office at 512-471-5017 or
                                   deanofstudents@austin.utexas.edu.

                                   Sincerely,




                                   Dr. Aaron Voyles                                     Melissa Jones-Wommack
                                   Executive Director Student Involvement               Acting Executive Director
                                   Office of the Dean of Students                       Student Conduct and Academic Integrity
                                                                                        Office of the Dean of Students




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April 24, 2024

Maher Naofal
Sent electronically to mahernaofal@gmail.com

                                                         PERSONAL AND CONFIDENTIAL

Regarding Case Number: 2024124804


Dear Maher Naofal,

You are receiving this message in your role as an Authorized Representative of the Registered
Student Organization Palestine Solidarity Committee. Please review the attached
memorandum containing time sensitive information about the cancellation of the event planned
by your organization.

"Please be advised that you are not permitted to hold your event on the University
campus. Any attempt to do so will subject your organization and its attending members
to discipline including suspension under the Institutional Rules. Individuals not affiliated
with the University and attempting to attend this event will be directed to leave campus.
Refusal to comply may result in arrest."Sincerely,Office of the Dean of Students

Sincerely,

Office of the Dean of Students
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    April 24, 2024

    Palestine Solidarity Committee (PSC)

    Re: Notice Cancelling Planned Event

    Dear PSC Authorized Representative,

    The University of Texas at Austin must first and foremost act to protect our educational mission,
    allowing the activities and operations that support our mission to proceed. At the same time, we
    are steadfast in our support of free speech. Our policies and rules help define the lines between
    these objectives and shape our response to planned protests.

    The Palestine Solidarity Committee student organization’s event “Popular University for Gaza,”
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    Please be advised that you are not permitted to hold your event on the University campus.
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    University and attempting to attend this event will be directed to leave campus. Refusal to
    comply may result in arrest.

    Our campus has a long history of peaceful student protests and free speech and expression. If
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 UT Austin registered student organization Palestine Solidarity Committee (“PSC”) Instagram post of April 21,
2024 (emphasis added).

      WE ARE ALL SJP! Our universities have chosen profit and reputation over the lives of the people of
      Palestine and our will as students. The supposed power of our administrators is nothing compared to the
      strength of the united students, staff, and faculty committed to realizing justice and upholding Palestinian
      liberation on campus. In the footsteps of our comrades at Rutgers-New Brunswick SJP, Tufts SJP, and
      Columbia SJP, we will take back our university and force our administration to divest, for the people of
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UT Austin registered student organization PSC Instagram post of April 23, 2024 (encouraging people to wear
face masks in violation of Chapter 13-105(a)(i) of the Institutional Rules).

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      TO OCCUPY THE LAWN BRING BLANKETS, FOOD, FACE MASKS, AND ENERGY
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                                   you are interested in organizing an event that adheres to our University policies and rules, we are
                                   happy to connect you to a staff member that can answer your specific questions and assist you in
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                                   Sincerely,




                                   Dr. Aaron Voyles                                     Melissa Jones-Wommack
                                   Executive Director Student Involvement               Acting Executive Director
                                   Office of the Dean of Students                       Student Conduct and Academic Integrity
                                                                                        Office of the Dean of Students




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April 24, 2024

Mohammed Zakzok
Sent electronically to zakzokmohammed1@gmail.com

                                                         PERSONAL AND CONFIDENTIAL

Regarding Case Number: 2024124805


Dear Mohammed Zakzok,

You are receiving this message in your role as an Authorized Representative of the Registered
Student Organization Palestine Solidarity Committee. Please review the attached
memorandum containing time sensitive information about the cancellation of the event planned
by your organization.

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campus. Any attempt to do so will subject your organization and its attending members
to discipline including suspension under the Institutional Rules. Individuals not affiliated
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Refusal to comply may result in arrest."Sincerely,Office of the Dean of Students

Sincerely,

Office of the Dean of Students
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    April 24, 2024

    Palestine Solidarity Committee (PSC)

    Re: Notice Cancelling Planned Event

    Dear PSC Authorized Representative,

    The University of Texas at Austin must first and foremost act to protect our educational mission,
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    these objectives and shape our response to planned protests.

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                                   Sincerely,




                                   Dr. Aaron Voyles                                     Melissa Jones-Wommack
                                   Executive Director Student Involvement               Acting Executive Director
                                   Office of the Dean of Students                       Student Conduct and Academic Integrity
                                                                                        Office of the Dean of Students




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